     Case 1:25-cv-00016-MW-MJF     Document 49   Filed 04/08/25   Page 1 of 89




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

SHARON AUSTIN, DANIEL BELGRAD, ROBIN
GOODMAN, MATTHEW MARR, ANDREA
QUEELEY, JEAN RAHIER, and KATIE
RAINWATER,

                                 Plaintiffs,

v.                                                        Case No. 25-cv-16-MW/MJF

BRIAN LAMB, ASHLEY BELL BARNETT, JOHN
BRINKMAN, TIMOTHY M. CERIO, MANNY
DIAZ, JR., AUBREY EDGE, PATRICIA FROST,
CARSON GOOD, EDWARD HADDOCK, KEN
JONES, ALAN LEVINE, CHARLES H.
LYDECKER, CRAIG MATEER, JOSE OLIVA,
AMANDA J. PHALIN, and ERIC SILAGY, in their
official capacities as members of the Florida Board of
Governors of the State University System; MORTEZA
HOSSEINI, DAVID L. BRANDON, JOHN
BRINKMAN, RICHARD P. COLE, CHRISTOPHER
T. CORR, JAMES W. HEAVENER, SARAH LYNNE,
DANIEL T. O’KEEFE, RAHUL PATEL, MARSHA
D. POWERS, FRED S. RIDLEY, PATRICK O.
ZALUPSKI, and ANITA G. ZUCKER, in their official
capacities as members of the University of Florida
Board of Trustees; PETER COLLINS, BOB SASSER,
JOHN THIEL, VIVAN DE LAS CUEVAS-DIAZ,
JORGE GONZALEZ, JUSTIN ROTH, KATHRYN
BALLARD, BRIDGETT BIRMINGHAM, JACKSON
BOISVERT, JIM HENDERSON, DEBORAH
SARGEANT, DREW WEATHERFORD, and
MAXIMO ALVAREZ, in their official capacities as
members of the Florida State University Board of
Trustees; ROGELIO TOVAR, CARLOS A. DUART,
NOËL C. BARENGO, FRANCESCA CASANOVA,
DEAN C. COLSON, ALAN GONZALEZ, GEORGE
   Case 1:25-cv-00016-MW-MJF         Document 49     Filed 04/08/25    Page 2 of 89




HEISEL, JESUS LEBEÑA, ALEXANDER M.
PERAZA, YAFFA POPACK, CHANEL T. ROWE,
MARC D. SARNOFF, and ALBERTO R. TAÑO, in
their official capacities as members of the Florida
International University Board of Trustees; and
WILLIAM WEATHERFORD, MICHAEL E.
GRIFFIN, CHARBEL J. BARAKAT, SANDRA
CALLAHAN, MICHAEL CARRERE, N. ROGAN
DONELLY, SURYAKANTH GOTTIPATI, OSCAR
HORTON, LAURAN MONBARREN, SHILEN
PATEL, FREDRICK PICCOLO, MELISSA SEIXAS,
and DAVID SIMMONS, in their official capacities as
members of the University of South Florida Board of
Trustees,

                                  Defendants.



    COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                 INTRODUCTION

     1.      Plaintiffs are professors at public universities in the State of Florida

whose curricula and expressive activity have been fundamentally restrained and

chilled in violation of the First Amendment to the United States Constitution.

Plaintiffs’ harms stem from the latest legislative effort in a series of attempts by

the State of Florida to levy an attack on disfavored speech, including anything

which the State perceives to fall within the ambit of diversity, equity, and

inclusion.

     2.      In recent years, the Florida Legislature has enacted laws seeking to

suppress disfavored speech. One of these laws, 2022’s House Bill 7, also known
                                           2
    Case 1:25-cv-00016-MW-MJF              Document 49        Filed 04/08/25      Page 3 of 89




as the Stop W.O.K.E. Act, prohibited public university faculty from instructing on

certain topics related to “race, color, national origin, or sex.”1 The United States

Court of Appeals for the Eleventh Circuit, in affirming an injunction of the Stop

W.O.K.E. Act’s private-employer provision, concluded that the law

unconstitutionally “penalize[d] certain viewpoints—the greatest First Amendment

sin.”2

         3.    Continuing its effort to police the marketplace of ideas, the Florida

Legislature again passed vague, viewpoint-discriminatory legislation that broadly

restricts academic freedom and imposes the State’s favored viewpoints on public

higher education, punishing educators and students for expressing differing and

disfavored viewpoints.3

         4.    This legislation, passed in 2023 and collectively referred to here as



1 The Stop W.O.K.E. Act deemed the instruction of certain topics related to “race, color, national

origin, or sex” in public schools and state universities to “constitute discrimination on the basis
of race, color, national origin, or sex,” unless such “instruction is given in an objective manner
without endorsement of the concepts.” Fla. Stat. § 1000.05 (4)(a)–(b) (2022).
2 The Eleventh Circuit in Honeyfund considered sections of the Stop W.O.K.E. Act that banned

mandatory workplace trainings that promoted certain beliefs related to race, color, sex, or
national origin. See Honeyfund.com Inc. v. Governor, 94 F.4th 1272, 1277, 1281 (11th Cir.
2024) (“Banning speech on a wide variety of political topics is bad; banning speech on a wide
variety of political viewpoints is worse.”).
3 See Fla. Stat. § 1004.06(2); see also Press Release, Gov. Ron DeSantis, Governor Ron

DeSantis Signs Legislation to Strengthen Florida’s Position as National Leader in Higher
Education, FLGOV.COM (May 15, 2023), https://perma.cc/34K2-WXUM (“SB 266 takes several
steps to prevent woke ideologies from continuing to coopt our state universities and state
colleges.”).

                                                  3
   Case 1:25-cv-00016-MW-MJF         Document 49      Filed 04/08/25   Page 4 of 89




Senate Bill 266 (“S.B. 266”), bans the funding of expression that “[a]dvocate[s]

for diversity, equity, and inclusion, or promote[s] . . . political or social activism,”

Fla. Stat. § 1004.06(2), and restricts the viewpoints that can be taught in general

education courses, Fla. Stat. § 1007.25(3). Instead of defining the relevant terms,

the Florida Legislature delegated that authority to the Board of Governors of the

State University System of Florida (“Board of Governors” or “BOG”), which in

2024 promulgated regulations implementing S.B. 266. See Florida BOG

Regulation 9.016 (“Regulation 9.016”); Florida BOG Regulation 8.005

(“Regulation 8.005”) (collectively, “the Regulations”).

      5.    Regulation 9.016 implements S.B. 266’s ban on funding for programs

or campus activities that advocate for “diversity, equity, or inclusion,” or that

engage in “political or social activism.” The Regulation’s definitions are

ambiguous, inconsistent, and far too broad to provide any real guidance other than

indicating the Legislature’s and the BOG’s intent to disfavor certain speech.

Regulation 8.005 enumerates the categories and courses that qualify for statewide

general education designation. All students, regardless of their major, are required

to take a specified number of courses with the general education designation to

graduate. In January 2024, the BOG amended Regulation 8.005 to remove

“Principles of Sociology” from the list of state-recognized Social Sciences courses

that would satisfy the general education requirement at Florida public universities


                                           4
   Case 1:25-cv-00016-MW-MJF        Document 49      Filed 04/08/25   Page 5 of 89




because of viewpoints discussed in the course.

     6.     Through the Regulations implementing S.B. 266, the BOG has

stripped hundreds of university courses of their general education status, including

courses that historically have been designated as general education. Florida’s

public universities also have denied scholarship and research funding to faculty

and students that had been approved in the past.

     7.     Plaintiffs bring this lawsuit to challenge S.B. 266 and these

Regulations, which together have disrupted their careers and restricted the speech

of faculty and students throughout the State University System.

     8.     The University of Florida (“UF”), for example, cited this law when

denying a professor’s request for funding to present her research at a conference

that she had attended the year before without issue. UF has also been unwilling to

fund some doctoral students’ attendance at conferences or to host guest

speakers—requests that the university had previously approved—when the

activities appear tied to disfavored speech.

     9.     Like S.B. 266’s funding ban, the bill’s general education restrictions

also seek to suppress viewpoints the State disfavors. For example, under section

1007.25(3), general education courses “may not distort significant historical

events or include a curriculum that teaches identity politics . . . or is based on

theories that systemic racism, sexism, oppression, and privilege are inherent in the


                                          5
   Case 1:25-cv-00016-MW-MJF        Document 49     Filed 04/08/25    Page 6 of 89




institutions of the United States and were created to maintain social, political, and

economic inequities.” Section 1007.25(3) does not, however, define “distort” or

“identity politics.” Instead, professors are left to guess whether and how their

courses could run afoul of Florida law. This chills protected in-class speech, as

professors seek to comply with S.B. 266 to avoid consequences to their future

tenure or their ability to maintain general education status for their courses.

     10.    In an attempt to comply with these vague provisions, public

universities have implemented S.B. 266’s restrictions to strip longstanding classes

of their general education status. Florida State University (“FSU”) denied general

education status to fourteen out of seventeen English courses that applied for

general education status, despite those courses having previously held such status.

Florida International University (“FIU”) likewise removed several sociology and

anthropology courses from the general education catalog, and University of South

Florida (“USF”) has removed several humanities courses from the general

education catalog. UF also removed all courses in the African American Studies

program from the general education curriculum, even though those courses

previously held such status.

     11.    Removing these courses puts entire departments’ financial viability at

risk; imposes administrative and psychological burdens on professors, which

detract from their other academic responsibilities; and robs students of the


                                          6
   Case 1:25-cv-00016-MW-MJF        Document 49     Filed 04/08/25    Page 7 of 89




opportunity to take these courses while also progressing toward their degrees in

other fields of study. Students are less likely to take a course that does not count

toward their major or general education requirements because they are concerned

with (1) the cost of taking such a course, given that their tuition is based on how

many credit hours they are enrolled in; and (2) whether taking that course would

force them to extend their time at university in order to meet all of their

graduation requirements. This is particularly true for students in science,

technology, engineering, or mathematics degree programs, whose schedules are

often less flexible because they are required to take specific classes each semester.

     12.    To even have the possibility of keeping their courses’ general

education status, professors were forced to alter their course titles, course

descriptions, and specific modules in an attempt to conform with the recent

legislation, a task that they have taken on without clarity on how to comply with

the law. For courses that have been stripped of general education status,

professors remain in the dark about what additional changes would be required for

their courses to reacquire general education status.

     13.    The impacts of these Regulations are not limited to the classroom.

Funding restrictions under section 1004.06 have stripped certain student

organizations of their ability to provide meaningful services to their members.

UF, for example, closed the Center for Inclusion and Multicultural Engagement


                                          7
    Case 1:25-cv-00016-MW-MJF           Document 49       Filed 04/08/25     Page 8 of 89




(“CIME”), which provided invaluable resources to students and student

organizations through their Office of Hispanic Latinx Student Engagement, Office

of Black Student Engagement, Office of Asian Pacific Islander Desi Student

Engagement, and Office of LGBTQ+ Student Engagement.4 CIME was closed

despite the continued and largely state-funded operation of similar offices for

disabled, veteran, and first-generation students.5

       14.    Further, the chilling effects of section 1004.06 are felt by student

organizations, despite the Legislature’s carveout for student fees. Because student

organizations rely on university funding, they are limiting their events and

programming for fear of violating Florida law. For example, at UF, at least one

student news organization avoided covering another student organization’s event

discussing the impacts of S.B. 266, for fear of losing funding. Not only does the

threat of losing funding restrict the freedom of student journalists to cover events



4 CIME was abruptly shut down in August 2024, when a university spokesperson announced that

the office would be undergoing changes to comply with S.B. 266. While CIME appears to have
been rebranded as the “Office of Community and Belonging,” students have been left in the dark
as to what this rebrand means and are concerned about whether previously available programs
and resources will be maintained. See Grace McClung, State elimination of DEI initiatives shuts
down UF’s Center for Inclusion and Multicultural Engagement, THE INDEPENDENT FLORIDA
ALLIGATOR (Aug. 5, 2024), https://perma.cc/DNJ9-NQC3; see also Staff, UF STUDENT
ENGAGEMENT, https://perma.cc/66NT-RGKU (last visited Jan. 14, 2025).
5 See Disability Resource Center, UNIV. OF FLA., https://perma.cc/6K9B-X6AP (last visited Jan.

14, 2025); Office of Student Veteran Services, UNIV. OF FLA., https://perma.cc/22Y6-REJ7 (last
visited Jan. 14, 2025); and Office of First-Generation Student Success, UNIV. OF FLA.,
https://perma.cc/WV8Q-A86Z (last visited Jan. 14, 2025).

                                               8
   Case 1:25-cv-00016-MW-MJF         Document 49     Filed 04/08/25    Page 9 of 89




taking place at their institutions, but it also robs student organizations, particularly

those supporting students of color or other marginalized groups, of the opportunity

to spread their message to students across campus.

      15.   As described here, Plaintiffs’ First Amendment rights under the

United States Constitution have been violated by S.B. 266 and the Board of

Governors’ implementing Regulations.

      16.   The United States Supreme Court has highlighted the vital role of

educators’ academic freedom in our democracy, emphasizing that “[t]o impose

any strait jacket upon the intellectual leaders in our colleges and universities

would imperil the future of our Nation.” Sweezy v. New Hampshire, 354 U.S.

234, 250 (1957). These protections also extend to students: “[S]tudents must

always remain free to inquire, to study and to evaluate, and to gain maturity and

understanding; otherwise our civilization will stagnate and die.” Id. As the

Supreme Court explained, “The quality and creative power of student intellectual

life . . . remains a vital measure of a school’s influence and attainment. . . . [T]o

cast disapproval on particular viewpoints of its students risks the suppression of

free speech and creative inquiry in one of the vital centers for the Nation’s

intellectual life, its college and university campuses.” Rosenberger v. Rector &

Visitors of the Univ. of Va., 515 U.S. 819, 836 (1995).

      17.   S.B. 266 and Regulation 9.016 violate Floridians’ academic freedom


                                           9
  Case 1:25-cv-00016-MW-MJF        Document 49     Filed 04/08/25     Page 10 of 89




as it relates to their First Amendment rights. See Keyishian v. Bd. of Regents of

Univ. of State of N. Y., 385 U.S. 589, 603 (1967) (Academic “freedom is . . . a

special concern of the First Amendment”).

     18.    In an attempt to close the marketplace of ideas at Florida’s public

universities to viewpoints that are not endorsed by the State of Florida, S.B. 266

and the Regulations impose viewpoint-based restrictions on speech in violation of

the First Amendment. This state-sponsored viewpoint discrimination,

accompanied by S.B. 266’s and Regulation 9.016’s overbroad and vague

language, inhibits academic freedom. Together, S.B. 266 and the Regulations

have left instructors and students fearful for the future of not only education, but

also free thought and democracy in Florida.

     19.    Part of this fear stems from the fact that S.B. 266 and

Regulation 9.016 are vague and overbroad in violation of the First Amendment.

Regulation 9.016, for example, purports to define key terms in S.B. 266, like

“political or social activism,” but its expansive definitions prohibit, for example,

“any activity organized with a purpose of effecting or preventing change to a

government policy, action, or function, or any activity intended to achieve a

desired result related to social issues.” (Emphases added). Because the

definitions are so broad, the faculty and students who are subject to the law and

the administrators who must enforce it are not on notice as to what activity is


                                         10
      Case 1:25-cv-00016-MW-MJF           Document 49      Filed 04/08/25   Page 11 of 89




    prohibited (or what is permitted). As a result, professors are self-censoring out of

    fear of running afoul of S.B. 266, and students are concerned about speaking

    openly on campus out of fear that certain conversations could violate the law.

         20.     By enforcing S.B. 266 and the Regulations in a way that limits

    students, faculty members, and staff from accessing or observing different

    perspectives that they may disagree with or find uncomfortable, Defendants have

    also violated section 1004.097(3)(f) of Florida’s Campus Free Expression Act.

    The Florida Legislature amended the Campus Free Expression Act in 2021 to

    include an anti-shield provision in order “to protect the expression of diverse

    viewpoints at Florida College System [] institutions and state universities.”6

    Section 1004.097 creates a cause of action against a public institution of higher

    education when that institution “shield[s] students, faculty, or staff from

    expressive activities.”7 An individual is shielded from expressive activities when

    their “access to, or observation of, ideas and opinions that they may find

    uncomfortable, unwelcome, disagreeable, or offensive,” is limited.8 Protected

    under this law is an individual’s “lawful oral and written communication of ideas,



6 Fla. S. Educ. & Emp. Comm., CS/CS/HB 233 — Postsecondary Education (2021),

https://perma.cc/S736-T7YR (last visited Jan. 14, 2025).
7
    Fla. H.B. 233 § 1004.097 (3)(a) (2021).
8 Fla. H.B. 233 § 1004.097 (2)(f) (2021).



                                               11
   Case 1:25-cv-00016-MW-MJF            Document 49        Filed 04/08/25     Page 12 of 89




including . . . faculty research, lectures, writing, and commentary, whether

published or unpublished.”9 By allowing discussions of only those viewpoints

that the State agrees with, Defendants are shielding faculty members, students,

and staff in violation of section 1004.097(3)(f).

       21.     This Court should declare the aforementioned provisions of S.B. 266

and the BOG’s implementing Regulations unconstitutional and enjoin them.

                                            PARTIES

   A. Plaintiffs

       22.     Plaintiff Sharon Austin is a researcher, educator, and tenured

Professor of Political Science and the former Director of the African American

Studies Program at UF. One of the ways that Plaintiff Austin meets her

professional requirements is by presenting her research at conferences.10 On

April 8, 2024, UF, a publicly funded institution and a member of the State

University System of Florida, denied Plaintiff Austin’s funding request to attend

an international conference hosted by Diversity Abroad (the “Global Inclusion

Conference”) where she was invited to present her work—a request UF had


9 Fla. H.B. 233 § 1004.097 (3)(a) (2021).


10 UF’s “criteria for granting tenure, promotion, or permanent status” depends on a faculty

member’s” performance of the duties and responsibilities expected of a member of the university
community.” UF recognizes three broad categories of academic engagement: (1) teaching; (2)
research; and (3) service. Promoting & Tenure Guidelines for 2024–2025, UNIV. OF FLA.,
https://perma.cc/L6H5-KAGD (last visited Jan. 14, 2025).

                                               12
  Case 1:25-cv-00016-MW-MJF        Document 49     Filed 04/08/25   Page 13 of 89




granted the year before—because her viewpoint is disfavored by the State

pursuant to S.B. 266. She intends to seek funding from UF again to attend the

Global Inclusion Conference in 2025. Moreover, Plaintiff Austin was recently

selected as President-elect of the National Conference of Black Political

Scientists. She has relied on funding from UF to attend this conference every year

since she began working at UF in 2001 and has taken students to this conference

to present their research. Plaintiff Austin intends to continue attending this annual

conference and requesting financial support from UF to do so. However, she now

fears that using university funding to attend this conference will be banned under

S.B. 266 because the research she will present discusses the assault on academic

freedom and DEI, and the Global Inclusion Conference was founded to increase

the representation of Black scholars in the Political Science discipline. She fears

that she will no longer receive funding, forcing her to either pay out-of-pocket or

forgo attending.

     23.    Additionally, UF’s Provost’s Office flagged two of Plaintiff Austin’s

courses (“Politics of Race” and “Black Horror and Social Justice”) for

non-compliance with S.B. 266, despite these courses previously satisfying UF’s

general education requirements. At the Provost’s Office’s instruction, Plaintiff

Austin made changes to the course descriptions and altered a module on

microaggressions to address the Assistant Provost’s concern that the courses


                                         13
  Case 1:25-cv-00016-MW-MJF        Document 49     Filed 04/08/25   Page 14 of 89




violated S.B. 266’s “text about identity politics and systemic racism.” Despite

these revisions, Plaintiff Austin was notified on December 6, 2024, that neither of

her courses were approved by the BOG for general education designation for the

2025-2026 school year. While she intends to request approval for these courses to

be included in the general education catalog in the future (including her course

“Women of Color and the Law”), she fears that the BOG’s and UF BOT’s unclear

processes and lack of transparency will remain insurmountable obstacles.

     24.    Plaintiff Robin Goodman is a tenured English Professor and

researcher at FSU. Since 2015, Plaintiff Goodman has taught, as relevant here,

“Third World Cinema,” a former general education course about the relationship

between political intervention and cinematographic techniques. As part of the

course, students watch and discuss a range of films, including Academy of Motion

Picture Arts and Sciences-recognized films like “The Battle of Algiers.” In

August 2024, Plaintiff Goodman learned that FSU’s general education courses,

including her own, were being reviewed by FSU and would be submitted to the

BOG to determine whether they would continue to receive general education

status. Unlike the rigorous review process that FSU faculty is required to undergo

when adding or removing a course—a process that can take anywhere from six to

eight months—by the beginning of the Fall 2024 semester, the BOG reached its

decision without faculty input, ignoring its obligations to form a faculty


                                         14
  Case 1:25-cv-00016-MW-MJF       Document 49     Filed 04/08/25   Page 15 of 89




committee before deciding whether a course qualified for general education

designation. In the beginning of that semester, FSU informed Plaintiff Goodman

that her course had been removed from the general education list. FSU also

determined that although “Third World Cinema” would continue to meet students’

Ethics requirement, it would be removed from all other general education

requirements, including “Humanities and Cultural Practice.” Because the English

Department is obligated to offer enough general education courses to allow

students to fulfill their general education requirements, the Department is unlikely

to offer courses that do not have a general education designation. Thus, “Third

World Cinema” is unlikely to be offered, even as an elective course.

     25.    Plaintiff Goodman also developed a general education course

previously titled “Perspectives on the Short Story,” which has historically been

offered as a 3000-level course. In developing the course, Plaintiff Goodman

helped publish a textbook from which her department receives monetary royalties.

Her department uses these royalties to sponsor graduate students to attend

conferences and for other events and programming. In 2024, the BOG denied

“Perspectives on the Short Story” general education status for the Fall 2025

semester. The course was later reinstated as a general education course, however,

after: (1) the course was changed from 3000-level to a 2000-level course; (2) the

title was changed to “Introduction to the Short Story”; and (3) language was added


                                        15
  Case 1:25-cv-00016-MW-MJF        Document 49      Filed 04/08/25   Page 16 of 89




to the course syllabus to explicitly include selections from “the Western Canon.”

Asking how an instructor can be sure whether they are teaching sources from “the

Western Canon,” Plaintiff Goodman was told that the university had not received,

and would not provide, guidance on how to teach selections from the “Western

Canon” in a manner that conforms with S.B. 266.

     26.    Plaintiff Matthew Marr is a researcher and tenured Associate

Professor of Sociology in the Department of Global and Sociocultural Studies and

the Asian Studies Program at FIU. Plaintiff Marr teaches both undergraduate and

graduate courses at FIU, including “Introduction to Sociology,” a course he is

teaching in Fall 2025. “Introduction to Sociology” is a foundational sociological

course, providing students the basics of the scientific study of human action and

interaction. In the course, students examine how individual and group action and

experiences are shaped by the social context in which they occur and, in turn, how

that social context is itself shaped by individual and group action and experiences.

As is the case in all sociology courses, “Introduction to Sociology” exposes

students to various concepts, including that everything is socially constructed and,

thus, nothing in society is inherent but is constantly evolving. In January 2024,

the BOG amended Regulation 8.005, removing all introductory sociology courses

across the state from the list of courses that automatically satisfy the general

education requirement for a social sciences course, despite the fact that, as the


                                         16
  Case 1:25-cv-00016-MW-MJF        Document 49     Filed 04/08/25    Page 17 of 89




original social science, Sociology is the foundation for all other social sciences.

As a result of the BOG’s amendment of Regulation 8.005, Plaintiff Marr can no

longer teach “Introduction to Sociology” as one of the general education courses

required under Regulation 8.005. He continues to teach “Introduction to

Sociology” as a university-specific general education course, which also is subject

to S.B. 266’s prohibitions. Plaintiff Marr fears that his teaching could run afoul of

S.B. 266. This fear is particularly pressing because he was recently selected for

post-tenure review as part of the 2025–2026 cycle.

     27.    Plaintiff Marr also fears that his funding requests and use of state

funds could run afoul of S.B. 266. Plaintiff Marr intends to apply for additional

state or federal funding from FIU to attend future conferences and to assist with

his research. For example, Plaintiff Marr plans to attend the annual meetings of

the American Sociological Association from August 8 to 12, 2025, in Chicago.

He has submitted a paper presentation titled “How Do Race and Ethnicity Shape

Housing Outcomes After Homelessness in a Hispanic Majority County?

Miami-Dade County’s Continuum of Care as a Racialized Organization.”

Plaintiff Marr intends to seek university funding to attend this conference, but he

fears FIU will deny his request for reimbursement due to S.B. 266. Plaintiff

Marr’s fear that his requests will be denied is reasonable, given that FIU initially

denied a request that his department made for expenses incurred to host a


                                         17
  Case 1:25-cv-00016-MW-MJF       Document 49     Filed 04/08/25   Page 18 of 89




departmental event. Plaintiff Marr’s department relies on university funding to

host departmental events, including a graduate student conference and a monthly

speaker colloquium. Many speakers present on topics related to race and gender.

FIU initially denied expenses incurred for the colloquium because it focused on

“Blackness.” The expenses were eventually reimbursed, but Plaintiff Marr and

his department remain unsure about whether future department expenses will be

denied for reimbursement due to S.B. 266.

     28.    Plaintiff Jean Rahier is a researcher and tenured Professor of

Anthropology and African and African Diaspora Studies at FIU. He served as the

Director of the African and African Diaspora Studies Program from 2008 to 2016.

Like Plaintiff Marr, Plaintiff Rahier and his Department rely on university funding

for departmental lectures and events that the university has threatened to deny as a

result of S.B. 266’s viewpoint discriminatory funding ban.

     29.    Furthermore, in Summer 2024, Plaintiff Rahier learned that two of his

courses (“Black Popular Cultures: Global Dimensions” and “Myth, Ritual, and

Mysticism”), had been removed by FIU’s provost from the general education

curriculum at the recommendation of the BOG. Plaintiff Rahier understood that

his courses were removed from the general education curriculum after the BOG

ran keyword searches and concluded, based on their titles, the courses violated

S.B. 266. As to “Myth, Ritual, and Mysticism,” this course has historically been


                                        18
  Case 1:25-cv-00016-MW-MJF        Document 49     Filed 04/08/25   Page 19 of 89




so popular at FIU that the school offered multiple sections of the course, taught by

several professors, every semester to accommodate student demand. After the

Chair of Plaintiff Rahier’s Department learned that the course was to be removed

from the general education curriculum because of concerns it violated S.B. 266,

he contacted the professors for “Myth, Ritual, and Mysticism,” including Plaintiff

Rahier. The Chair informed the professors that, based on a spreadsheet that the

Chair had received from the Provost, there was the possibility of keeping the

course as part of the general education curriculum if certain changes were made.

At the Chair’s suggestion, Plaintiff Rahier and the other professors agreed to

remove the word “Myth” from the course title, as well as remove the word

“supernatural” from the course description. Despite making these changes,

however, Plaintiff Rahier was informed in September 2024 that his courses still

would not be reinstated. Both “Black Popular Cultures: Global Dimensions” and

“Myth, Ritual, and Mysticism” were popular courses among students at FIU and,

due to their high numbers of enrollment, provided important funding to the

African and African Diaspora Studies Program and the Global and Sociocultural

Studies Department, respectively. Because of their removal from the general

education curriculum, students are less likely to enroll in Plaintiff Rahier’s courses

and, thus, the African and African Diaspora Studies Program and the Global and

Sociocultural Studies Department are in jeopardy of losing key funding.


                                         19
  Case 1:25-cv-00016-MW-MJF        Document 49    Filed 04/08/25   Page 20 of 89




Furthermore, in April 2025, Plaintiff Rahier learned he and five others in his

department had been selected for post-tenure review, heightening his concerns

about running afoul of S.B. 266.

     30.    Plaintiff Andrea Jean Queeley is an Associate Professor of

Anthropology and African and African Diaspora Studies at FIU. Following the

enactment of S.B. 266, two of Plaintiff Queeley’s undergraduate courses (“The

Anthropology of Race and Ethnicity” and “Black Popular Cultures: Global

Dimensions”) were stripped of their general education designation, despite the

fact that both courses had been offered for general education credit for over a

decade. Plaintiff Queeley understood that her courses were removed by the BOG

after it ran a keyword search that indicated her courses somehow did not comply

with S.B. 266.

     31.    Plaintiff Queeley is also concerned that her scholarship will be

affected if her funding requests are denied for purported non-compliance with

S.B. 266. Plaintiff Queeley relies on state funding to attend conferences where

she presents her scholarship and receives key feedback from other experts in her

field. In February 2025, Plaintiff Queeley’s research paper, “Monumental

Musings: ‘Germs of Rot’ and the Regeneration of Public Space,” was accepted by

the Caribbean Philosophical Association for its “Fanon at One Hundred”

conference, scheduled for July 15-20, 2025, in Martinique. Plaintiff Queeley


                                        20
  Case 1:25-cv-00016-MW-MJF       Document 49     Filed 04/08/25   Page 21 of 89




intends to apply for funding from FIU to offset her travel costs. She is concerned,

however, that her funding request will be denied because of S.B. 266 and the

subject matter of the conference and/or her paper. If her funding request is

denied, Plaintiff Queeley will not be able to attend the conference and will miss

out on this opportunity to present her scholarship and receive feedback on her

paper. Plaintiff Queeley also fears that denials based on S.B. 266 could be

relevant to her post-tenure review, which she will undergo as part of the

2025–2026 cycle.

     32.    Plaintiff Katie Rainwater is a Visiting Assistant Teaching Professor in

the Department of Global and Sociocultural Studies at FIU, where she regularly

teaches “Introduction to Sociology” and “Sociology of Gender.” As explained

above, “Introduction to Sociology” was removed from the state-level general

education courses in January 2024 but remains a university-specific general

education course. In Summer 2024, Defendant FIU’s Board of Trustees members

approved the removal of “Sociology of Gender” from FIU’s general education

curriculum. In January 2025, the BOG approved the revised general education

curriculum list, finalizing the removal of “Sociology of Gender” as a general

education course. As contingent faculty, Plaintiff Rainwater’s continued

employment at FIU is dependent on whether she is able to teach her courses,

which are only offered when a sufficient number of students have enrolled.


                                        21
  Case 1:25-cv-00016-MW-MJF          Document 49    Filed 04/08/25   Page 22 of 89




Because S.B. 266 is likely to impact the funding available to departments, such as

Global and Sociocultural Studies, and those departments will experience lower

enrollment overall, Plaintiff Rainwater’s employment is at risk, as are the classes

she teaches.

     33.       Plaintiff Daniel Belgrad is a Professor in the Department of

Humanities and Cultural Studies at the University of South Florida (“USF”)

College of Arts and Sciences. He has, since his early years at USF, taught

“Twentieth Century American Culture” as a general education course. In Summer

2024, Defendant members of USF’s BOT members preliminarily approved the

removal of “Twentieth Century American Culture” from USF’s general education

list. Despite Plaintiff Belgrad later updating the course description, “Twentieth

Century American Culture” was not ultimately on the list of approved general

education courses that Defendant members of the BOG submitted to the State

Board of Education. Upon investigation, Plaintiff Belgrad discovered that staff

from the BOG had indicated to USF’s administration that they had found the

course out of compliance with S.B. 266 because the syllabus required students to

purchase Ann Moody’s Civil Rights memoir, Coming of Age in Mississippi. Staff

from the BOG indicated that this book constituted “curriculum based on

unproven, speculative, or exploratory content.” Removing “Twentieth Century

American Culture” from the USF General Education list deprives Plaintiff


                                           22
  Case 1:25-cv-00016-MW-MJF        Document 49    Filed 04/08/25   Page 23 of 89




Belgrad of opportunities that would otherwise be available to him to contribute to

the mission of his department and likely dooms his program, American Studies (a

sub-program within the Department of Humanities and Cultural Studies), to

imminent closure for lack of enrollment. The removal of “Twentieth Century

American Culture” from the USF General Education list has had a chilling effect

on Plaintiff Belgrad and other faculty, who must now avoid assigning respected,

award-winning, and academically relevant works that they fear may cause them to

be similarly penalized for equally unpredictable reasons. Plaintiff Belgrad is

scheduled to teach “Introduction to Humanities” in Spring 2026, a statewide

general education course; because of how vague S.B. 266 is, Plaintiff Belgrad is

unsure how to comply with, and risks running afoul of, the law as part of that

instruction.

  B. Defendants

     34.       Defendants Brian Lamb, Ashley Bell Barnett, John Brinkman,

Timothy M. Cerio, Manny Diaz, Jr., Aubrey Edge, Patricia Frost, Carson Good,

Edward Haddock, Ken Jones, Alan Levine, Charles H. Lydecker, Craig Mateer,

Jose Oliva, Amanda J. Phalin, and Eric Silagy are sued in their official capacities

as members of the BOG.

     35.       Defendants Morteza Hosseini, David L. Brandon, John Brinkman,

Richard P. Cole, Christopher T. Corr, James W. Heavener, Sarah Lynne, Daniel T.


                                        23
  Case 1:25-cv-00016-MW-MJF         Document 49     Filed 04/08/25   Page 24 of 89




O’Keefe, Rahul Patel, Marsha D. Powers, Fred S. Ridley, Patrick O. Zalupski, and

Anita G. Zucker are sued in their official capacities as members of the UF Board

of Trustees.

     36.       Defendants Peter Collins, Bob Sasser, John Thiel, Vivian de las

Cuevas-Diaz, Jorge Gonzalez, Justin Roth, Kathryn Ballard, Bridgett

Birmingham, Jackson Boisvert, Jim Henderson, Deborah Sargeant, Drew

Weatherford, and Maximo Alvarez are sued in their official capacities as members

of the FSU Board of Trustees.

     37.       Defendants Rogelio Tovar, Carlos A. Duart, Noël C. Barengo,

Francesca Casanova, Dean C. Colson, Alan Gonzalez, George Heisel, Jesus

Lebeña, Alexander M. Peraza, Yaffa Popack, Chanel T. Rowe, Marc D. Sarnoff,

and Alberto R. Taño are sued in their official capacities as members of the FIU

Board of Trustees.

     38.       Defendants William Weatherford, Michael E. Griffin, Charbel J.

Barakat, Sandra Callahan, Michael Carrere, N. Rogan Donelly, Suryakanth

Gottipati, Oscar Horton, Lauran Monbarren, Shilen Patel, Fredrick Piccolo,

Melissa Seixas, and David Simmons are sued in their official capacities as

members of the USF Board of Trustees.




                                          24
   Case 1:25-cv-00016-MW-MJF           Document 49      Filed 04/08/25    Page 25 of 89




                             JURISDICTION AND VENUE

         39.     This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331

and 1343 because this action arises under the First and Fourteenth Amendments to

the United States Constitution under 42 U.S.C. § 1983.

         40.     Venue in this district is proper pursuant to 28 U.S.C. §§ 1391(b) and

1391(e).

         41.     Defendants are sued in their official capacities. Each defendant

resides and/or works within the State of Florida.

                              FACTUAL ALLEGATIONS

   I.          Florida Statute Section 1004.06

               A. Statutory Text & Requirements

         42.     Understanding how Florida’s universities are governed helps expose

how S.B. 266 and the BOG’s regulations have negatively impacted Florida public

universities’ faculty and students. Florida’s twelve public universities are part of

Florida’s State University System, which is governed by the BOG. The BOG

exists to operate, regulate, and control the management of the university system.11

         43.     The BOG includes seventeen members: the Chair of the Florida

Student Association; the President of the Advisory Council of the Faculty Senate;


11 Higher Education, FLA. DEP’T OF EDUC., https://perma.cc/QQP6-CEUD (last visited Jan. 14,

2025).

                                             25
   Case 1:25-cv-00016-MW-MJF             Document 49        Filed 04/08/25      Page 26 of 89




the Commissioner of Education; and fourteen members appointed by the Florida

Governor and confirmed by the state Senate.12 The BOG is not only responsible

for the management of the university system, it is also responsible for enacting

regulations, such as the one at issue here, to implement legislation passed by the

Florida Legislature at the state university level.

       44.     While the BOG oversees the State University System, each university

within the system has its own thirteen-member Board of Trustees (“BOT”), which

serves as the governing body of its respective institution. Each university’s BOT

consists of eleven appointed members as well as the Chair of the Faculty Senate

and the President of the Student Body. Of the eleven appointed members, six are

appointed by Florida’s Governor and five are appointed by the BOG.13 The BOT

oversees operations at its designated university, including establishing and

implementing policies and regulations consistent with the BOG’s regulations or

guidelines and maintaining high-quality education consistent with its respective

university’s mission.



12 As of the date of this filing, only sixteen individuals were listed as members of the Board of

Governors. Members, State Univ. Sys. of Fla., https://perma.cc/ZR35-TUUN (last accessed Apr.
7, 2025).
13 See Fla. Bd. of Govs. Reg. 1.001(2)(a); Board of Trustees, UNIV. OF FLA.,

https://perma.cc/QFC6-K9YY (last visited Jan. 14, 2025); Board of Trustees, FLA. STATE UNIV.,
https://perma.cc/G2KF-T9SB (last visited Jan. 14, 2025); Board of Trustees, FLA. INT’L UNIV.,
https://perma.cc/WZ66-TKZU (last visited Jan. 14, 2025); About the Board, FLA. AGRIC. &
MECH. UNIV., https://perma.cc/KXB5-A5FA (last visited Jan. 14, 2025).

                                                26
   Case 1:25-cv-00016-MW-MJF           Document 49        Filed 04/08/25      Page 27 of 89




             B. Statutory Text & Requirements

       45.     S.B. 266 mandates:

               (2) A Florida College System institution, state university, Florida
                   College System institution direct-support organization, or
                   state university direct-support organization may not expend
                   any state or federal funds to promote, support, or maintain any
                   programs or campus activities that:
               (a) Violate s. 1000.05;[14] or
               (b) Advocate for diversity, equity, and inclusion, or promote or
               engage in political or social activism, as defined by rules of the
               State Board of Education and regulations of the Board of
               Governors.

Fla. Stat. § 1004.06(2).

       46.     The vague and subjective language in the statute fails to provide

further explanation or clarification. It contains no description of the advocacy for

“diversity, equity, and inclusion” or “political or social activism” engagement that

it prohibits. Rather, the statute references the State Board of Education’s rules

and the BOG’s regulations as guides for interpreting the Legislature’s vague

language, providing no affirmative guidance on which programs or campus

activities might land in the bill’s crosshairs.

       47.     S.B. 266 also “[r]equires the Board of Governors to provide a

directive for universities to review programs [sic] violations of state law regarding




14 Section 1000.05 includes the Stop W.O.K.E. Act.   See Fla. Stat. § 1000.05(4) (2022).

                                             27
      Case 1:25-cv-00016-MW-MJF            Document 49    Filed 04/08/25     Page 28 of 89




 discrimination and those based on specified theories” in the law.15 The law

 further mandates a “periodic review of general education core courses” and

 requires a public university BOT and the BOG to approve general education

 courses at the institution.16 This provision applies to both the state-wide general

 education courses set forth in Regulation 8.0005 and university-specific general

 education courses. Under section 1007.25(3), general education courses “may not

 distort significant historical events or include a curriculum that teaches identity

 politics” and cannot be “based on theories that systemic racism, sexism,

 oppression, and privilege are inherent in the institutions of the United States and

 were created to maintain social, political, and economic inequities.”17 The statute

 does not, however, define “distort” or “identity politics.” The statute also

 mandates the inclusion of “selections from the Western canon” in Humanities

 courses,18 without defining what the “Western canon” means. Under section

 1007.55(1), general education courses may not include “[c]ourses with a




15 Pro. Staff of the S. Appropriations Comm. on Educ., Bill Analysis and Fiscal Impact Statement

at 1, https://perma.cc/M2T4-G4QS (last accessed Dec. 3, 2024) (discussing
section 1001.706(5)(a) (2023)).
16 Id. at 2.


17
     Fla. Stat. § 1007.25(3)(c) (2023).
18 Fla. Stat. § 1007.25(3)(d)(2) (2023).



                                                28
      Case 1:25-cv-00016-MW-MJF          Document 49     Filed 04/08/25     Page 29 of 89




 curriculum based on unproven, speculative, or exploratory content.”19

                 C. Enactment History

           48.     In April 2019, just three years before the Florida Legislature began its

 assault on academic freedom, Florida’s BOG issued a Statement of Free

 Expression (“Statement”) that was adopted by all twelve of the state’s public

 universities. In its Statement, the BOG recognized that the rights to freedom of

 speech and expression as enshrined in the United States and Florida Constitutions

 “are an integral part” of the BOG’s “university mission” to “deliver a high quality

 academic experience,” to “engage in meaningful and productive research,” and to

 “provide valuable public service for the benefit of” local communities and the

 state.20 The BOG observed, “A fundamental purpose of an institution of higher

 education is to provide a learning environment where divergent ideas, opinions,

 and philosophies, new and old, can be rigorously debated and critically

 evaluated.”21

           49.     To develop skills that are “an essential component” of Florida’s

 “academic and research missions,”22 the BOG maintained that individuals must be


19 Fla. Stat. § 1007.55(1) (2023).


20 State University System Free Expression Statement, STATE UNIV. SYS. OF FLA. (Apr. 15,

2019). https://perma.cc/W4KN-2CE8 (last accessed on Dec. 2, 2024).
21
     Id.
22 Id.



                                               29
    Case 1:25-cv-00016-MW-MJF           Document 49        Filed 04/08/25     Page 30 of 89




 free to “express any ideas and opinions they wish, even if others may disagree

 with them or find those ideas and opinions to be offensive or otherwise

 antithetical to their own worldview.”23 The BOG stressed that individuals should

 be “empower[ed] and enable[d]” to express ideas with which others disagree

 “without fear of being bullied, threatened, or silenced.” 24

         50.   Florida’s public universities continue to promote the principles

 underscoring this Statement on their websites despite the opposite principles being

 promoted and fostered in practice by S.B. 266 and the Regulations, and despite the

 punishment that accompanies embracing the Statement’s principles.25

         51.   More remarkable still: as recently as October 22, 2020, the BOG

 released a memorandum “making a clear and steadfast commitment to prioritize

 and support diversity, racial and gender equity, and inclusion in the State

 University System and to hold each university accountable for policies, programs,

 and actions that will codify and operationalize the System’s commitment.”26 The



23 Id.


24 Id.


25 See About FAMU, FLA. AGRIC. & MECH. UNIV., https://perma.cc/8W29-A4MY         (last visited
Dec. 3, 2024); Freedom of Expression and Assembly Rights and Responsibilities, FLA. AGRIC. &
MECH. UNIV., https://perma.cc/FCK6-QLEU (last visited Dec. 3, 2024); BOG Statement of Free
Expression, UNIV. OF S. FLA., https://perma.cc/7KSG-L7PZ (last visited Dec. 3, 2024).
26 Diversity, Equity, and Inclusion: Strategic Priorities at 1, FLA. BD. OF GOVERNORS (Oct. 22,

2020), https://perma.cc/35S4-HCV5.

                                               30
    Case 1:25-cv-00016-MW-MJF           Document 49   Filed 04/08/25   Page 31 of 89




 BOG recommended that “universities should consider the integration of D.E.I.

 best practices into their academic curriculum, knowing that a university’s

 curriculum is under the purview of the faculty and the established academic

 curricular review and approval structure of the institution.”27 The BOG also

 asserted that “processes and strategies that ensure that all is being done to attract,

 employ, and retain a fully diverse population of students, faculty, and staff are

 essential.”28

         52.     Even more recently, in 2021, the Florida Legislature amended section

 1004.097, also known as the Campus Free Expressions Act, to include an

 anti-shield provision aimed at encouraging intellectual freedom and viewpoint

 diversity. The Campus Free Expressions Act sets forth requirements “designed to

 protect the expression of diverse viewpoints at Florida College System []

 institutions and state universities.”29 Those requirements include, as relevant here,

 (1) a prohibition against Florida College system institutions or state universities

 “shield[ing] students, faculty, or staff from expressive activities”30; and

 (2) protections against “material and substantial” disruptions of “another person’s


27 Id. at 2.


28 Id. at 3.


29 Fla. S. Educ. & Emp. Comm., CS/CS/HB 233 —Postsecondary Education (2021),

https://perma.cc/587W-52UY.
30 Fla. H.B. 233 § 1004.097(3)(f) (2021).



                                             31
   Case 1:25-cv-00016-MW-MJF            Document 49   Filed 04/08/25   Page 32 of 89




or group’s expressive rights.”31

       53.    Section 1004.097(2)(f) defines “shield” as “limit[ing] students’,

faculty members’, or staff members’ access to, or observation of, ideas and

opinions that they may find uncomfortable, unwelcome, disagreeable, or

offensive.”

       54.    Section 1004.097(3)(a) further provides that expressive activities are

those protected under the First Amendment to the United States Constitution and

Article I of Florida’s Constitution. Those activities include, “but are not limited

to, any lawful oral and written communication of ideas,” including “faculty

research, lectures, writings, and commentary, whether published or

unpublished.” Id.

       55.    And when, as here, an individual’s expressive rights have been

violated, section 1004.097(4)(a) provides a cause of action “against a public

institution of higher education” to obtain “declaratory and injunctive relief” in

addition to court costs and reasonable attorney fees.

       56.    Now, the BOG and Florida’s Legislature have made an abrupt

about-face, directly undermining these still-applicable laws and guidelines,

leaving educational institutions reeling and violating students’ and faculty’s First



31 Fla. H.B. 233 § 1004.097(2)(c) (2021).



                                             32
   Case 1:25-cv-00016-MW-MJF            Document 49       Filed 04/08/25     Page 33 of 89




Amendment rights.

       57.     The Florida Legislature took its first big step in its new crusade

against academic freedom and diversity of thought in April 2022 with the Stop

W.O.K.E. Act, seeking to suppress speech about diversity, equity, inclusion,

systemic racism, white privilege, and critical race theory. The Stop W.O.K.E. Act

prohibited schools and businesses from any teaching or training that “espouses,

promotes, advances, inculcates, or compels such individuals to believe” certain

concepts regarding race, gender, racism, and privilege.32 The Stop W.O.K.E. Act

has been challenged by students and professors and was enjoined by the United

States District Court for the Northern District of Florida because, among other

things, “the First Amendment does not permit the State of Florida to muzzle its

university professors, impose its own orthodoxy of viewpoints, and cast us all into

the dark.”33 The Eleventh Circuit maintained the preliminary injunction of

provisions of the law that apply to public education and is currently reviewing the

law’s constitutionality.34



32 Fla. Stat. § 760.10 (8)(a) (2022).


33 Pernell v. Fla. Bd. of Governors of State Univ. Sys., 641 F. Supp. 3d 1230, 1277–78, 1289–91

(N.D. Fla. 2022), stay denied by Pernell v. Lamb, No. 22-13992-J (11th Cir. 2023).
34 See Pernell v. Lamb, No. 22-13992 (11th Cir. 2023); see also Pernell v. Fla. Bd. of Governors

of State Univ. Sys., 641 F. Supp. 3d 1230, 1277–78, 1289–91 (N.D. Fla. 2022) (finding the law
unconstitutionally vague and a violation of the constitutional academic freedom doctrine under
the First and Fourteenth Amendments to the United States Constitution).

                                               33
    Case 1:25-cv-00016-MW-MJF           Document 49        Filed 04/08/25     Page 34 of 89




        58.     Despite this law’s enjoinment in higher education, Florida

Representative Alex Andrade and Senator Erin Grall introduced H.B. 999 and

S.B. 266 in early 2023 to their respective chambers to further restrict what ideas

could be discussed on college campuses. Rep. Andrade called the bills “a

progression based on the work we have been doing.”35 In line with the aims of the

Stop W.O.K.E. Act, these bills sought to prevent public colleges and universities

from spending federal or state dollars on programs that promote disfavored

speech, including speech related to diversity, equity, and inclusion.

        59.     Numerous members of the Florida Legislature, in both the Florida

 State Senate and House of Representatives, warned of the potential negative

 impacts and constitutional violations of S.B. 266 before and after its enactment.

 While voting on H.B. 999, one Representative referred to the bill as an “attack on

 academic freedom,” while another opposed the bill “because it is

 unconstitutional.”36 Similarly, some Senators expressed concern that “[b]y

 restricting what students can learn, the state is actively suppressing students’

 academic and intellectual freedom.”37


35 HBCU Pulse, Florida House Subcommittee Hearing on House Bill 999, Ron DeSantis &

Possible Impacts (Full), YOUTUBE, at 00:00:20 (Mar. 15, 2023), https://perma.cc/JBR9-F3M3.
36 Id. at 02:33:15.


37 Anthony Izaguirre, DeSantis curtails diversity, equity and inclusion programs in Florida state

colleges, SENTINEL (May 16, 2023), https://perma.cc/Z3WS-5APV; See also Diane Rado, A


                                               34
      Case 1:25-cv-00016-MW-MJF           Document 49     Filed 04/08/25     Page 35 of 89




          60.     A number of members of the public also warned legislators of the

 impact of both H.B. 999 and S.B. 266, including fears that: (1) the bill will

 “destroy academic freedom”;38 (2) Florida students “will not be prepared for the

 workforce”;39 (3) Florida students were being condemned “to a second rate

 education”;40 (4) the bill will have “a chilling effect on students . . . and

 professors”;41 (5) universities “will not be able to hire and obtain top scholars any

 longer” because “people don’t want to work for a university who is not

 recognizing how higher education works”;42 and (6) educators would leave the

 state if the bill were enacted.43

          61.     Over the warnings and protestations from legislators and the public,

 on May 3, 2023, the Florida Legislature passed S.B. 266. On May 15, 2023,

 Governor DeSantis signed S.B. 266 into law, announcing the bill’s purpose of

 eliminating diversity, equity, and inclusion in Florida and instructing the public to



contentious overhaul for higher education: DeSantis pushes far right in bill signings, FLORIDA
PHOENIX (May 15, 2023, 6:03 PM), https://perma.cc/FKU6-64FX.
38 HBCU Pulse, supra note 35, at 57:40.


39 Id. at 00:59:32.


40 Id. at 1:09:55.


41 Id. at 1:38:00.


42
     Id. at 1:38:00.
43 Id.



                                               35
   Case 1:25-cv-00016-MW-MJF             Document 49       Filed 04/08/25      Page 36 of 89




“go to Berkeley” or similar places to study things like “gender ideology.”44

       62.     These fears raised and ignored during the legislative process are

already being realized. Professors, including Plaintiff Austin and Plaintiff

Goodman, have begun self-censoring when teaching their courses because they

are afraid that they might run afoul of S.B. 266. As students may record

university lectures in connection with a university complaint following the 2021

enactment of House Bill 233/section 1004.097, Plaintiffs fear that students with

differing interpretations of S.B. 266’s extraordinarily vague and broad

prohibitions may submit complaints about the content of their classroom

instruction, subjecting them to potential sanctions. Plaintiff Austin has already

received a university complaint for allegedly teaching concepts related to

historical racial “guilt.”

       63.     Professors are not only censoring what they say in the classroom; they

are also removing sources and reading materials from their syllabi for fear of

violating S.B. 266. Students are also self-censoring in the classroom because they

are afraid of starting conversations that might expose faculty to risk of being in

violation of the law. And professors are leaving Florida public universities en

masse because they do not wish to contend with S.B. 266. A recent survey


44 Danielle Brown, Senators revise contentious higher ed bill after uproar over the state of FL’s

public universities, FLORIDA PHEONIX (Apr. 12, 2023, 6:57 PM), https://perma.cc/C6TU-D3PW.

                                                36
   Case 1:25-cv-00016-MW-MJF             Document 49        Filed 04/08/25      Page 37 of 89




administered by the state chapters of the American Association of University

Professors and the United Faculty of Florida union found that 39% of responding

Florida faculty had already applied for jobs in other states, and another 5% plan to

do so in the next academic year.45 A so-called “brain drain” of professors from

Florida affects not only the viability and reputation of those schools, but also

current students’ quality of education and ability to graduate. This is especially

true for doctoral candidates who lose members of their dissertation committees,

rendering the students unable to present their dissertations and graduate.

   II.         Regulation 9.016

         64.     Abandoning the State University System’s stated mission to “serv[e]

the needs of a diverse state and global society,”46 on January 24, 2024, Defendant

BOG members passed Regulation 9.016 to implement S.B. 266’s restrictions on

funding for “diversity, equity, or inclusion,” and “political and social activism.”

In doing so, Defendant BOG members violated their statutory duties under section

1001.706(13)(c) by shielding students, faculty, and staff at state universities from

speech protected under the First Amendment and contravened the BOG’s own

2019 Statement of Free Expression.


45 Ian Hodgson & Divya Kumar, More Florida faculty still looking to leave the state, survey

shows, TAMPA BAY TIMES (Sep. 18, 2024), https://perma.cc/ZND6-EY9K.
46 Fla. Bd. of Govs., 2025 System Strategic Plan (last visited Apr. 7, 2025),

https://perma.cc/6ASR-GWX4.

                                                37
   Case 1:25-cv-00016-MW-MJF            Document 49       Filed 04/08/25     Page 38 of 89




       65.     In accordance with S.B. 266, Regulation 9.016 prohibits any “state

university or state university direct-support organization . . . [from] expend[ing]

any state or federal funds to promote, support, or maintain any programs or

campus activities that” violate the Stop W.O.K.E. Act;47 advocate for diversity

equity, or inclusion, as defined in Regulation 9.016; or promote or engage in

political or social activism, as defined in that regulation. Fla. BOG Reg. 9.016(2)

(Jan. 24, 2024).

       66.     Although S.B. 266 and Regulation 9.016 purport to prohibit certain

conduct, neither the statute nor the Regulation provides fair notice as to what

behavior is prohibited or allowed. This is due, in large part, to the use of vague

definitions of key terms in Regulation 9.016, such as “Diversity, Equity, or

Inclusion,” “Political or Social Activism,” and “Any program or campus

activities.”

       67.     “Diversity, Equity, or Inclusion” is defined as:

               [A]ny program, campus activity, or policy that classifies
               individuals on the basis of race, color, sex, national origin,
               gender identity, or sexual orientation and promotes differential
               or preferential treatment of individuals on the basis of such
               classification.

Fla. BOG Reg. 9.016(1)(a)1.


47 Section 1000.05 also includes anti-discrimination provisions that remain untouched by

decisions involving the Stop W.O.K.E. Act.

                                               38
  Case 1:25-cv-00016-MW-MJF        Document 49      Filed 04/08/25   Page 39 of 89




      68.   “Political or Social Activism” is defined as:

            [A]ny activity organized with a purpose of effecting or
            preventing change to a government policy, action, or function, or
            any activity intended to achieve a desired result related to social
            issues, where the university endorses or promotes a position in
            communications, advertisements, programs, or campus
            activities.

Fla. BOG Reg. 9.016(1)(a)2.

      69.   “‘Social Issues’ are topics that polarize or divide society among

political, ideological, moral or religious beliefs.” Fla. BOG Reg. 9.016(1)(a)3.

      70.   “Any program or campus activities” are defined as:

                [A]ctivities authorized or administered by the university or a
                university’s direct-support organization(s) that involve:
                   a. Academic programs subject to review as outlined in
                      sections 1001.706(5)(a) and 1007.25, Florida Statutes,
                      other than classroom instruction;
                   b. Student participation, other than classroom instruction;
                   c. Hiring, recruiting, evaluating, promoting, disciplining,
                      or terminating university employees or contractors.

Fla. BOG Reg. 9.016(1)(a)4.

      71.   As written, Defendants UF BOT members, FSU BOT members, FIU

BOT members, USF BOT members, as well as all other public university trustees

in Florida, are left to their own devices to interpret the unconstitutionally broad

and vague language of S.B. 266 and Regulation 9.016—inspiring arbitrary and

discriminatory enforcement for what constitutes “diversity, equity, or inclusion”

and “political or social activism.” Given the context in which these laws were


                                         39
  Case 1:25-cv-00016-MW-MJF        Document 49      Filed 04/08/25   Page 40 of 89




passed, Defendants UF BOT members, FSU BOT members, FIU BOT members,

USF BOT members, and other public university trustees in Florida have

interpreted S.B. 266 and Regulation 9.016 to align with Governor DeSantis’s

viewpoints and stated goals. In doing so, Defendants UF BOT members, FSU

BOT members, FIU BOT members, USF BOT members, and other public

university trustees have pushed Governor DeSantis’s viewpoints on faculty and

students; chilled expression of viewpoints disfavored by the State; and constrained

the freedom of faculty, students, and employees of State universities to engage in

expressive conduct.

  III.     Viewpoint-Based Discrimination on University Campuses

     72.     As the Eleventh Circuit has recognized, “Nowhere is free speech more

important than in our leading institutions of higher learning.” Speech First, Inc. v.

Cartwright, 32 F.4th 1110, 1128 (11th Cir. 2022). Stifling the “marketplace of

ideas” for Florida university students and professors is detrimental to the state, as

well as the entire nation. See Healy v. James, 408 U.S. 169, 180 (1972).

     73.     The Florida Legislature and Defendant BOG members have used

S.B. 266 and the Regulations to eradicate expression of views in State institutions

of higher learning with which they disagree, committing the “greatest First

Amendment sin.” Honeyfund.com, Inc. v. Governor, 94 F.4th 1272, 1277 (11th

Cir. 2024) (warning against viewpoint-based discrimination).


                                         40
   Case 1:25-cv-00016-MW-MJF           Document 49       Filed 04/08/25     Page 41 of 89




       74.     Viewpoint-based discrimination is particularly harmful in higher

education environments because it interferes with fundamental principles of

academic freedom. See Rosenberg, 515 U.S. at 835–36.

       75.     The First Amendment protects all university educators and researchers

from viewpoint-based restrictions.

       76.     In addition to general viewpoint discrimination, the Florida

Legislature and Defendant BOG members have also targeted speech intended to

influence government policy or action, see Fla. BOG Reg. 9.016(1)(a)2, a direct

infringement on the most core protected speech—political speech.

             A. The Role of a Professor

       77.     As forewarned by the United States Supreme Court, “[n]o one should

underestimate the vital role in a democracy that is played by those who guide and

train our youth.” Sweezy, 354 U.S. at 250.

       78.     According to UF’s internal regulations, “the professor encourages the

free pursuit of learning in students. The professor maintains and represents the

best scholarly standards of his or her discipline. The professor demonstrates

respect for the student as an individual and adheres to the proper role of

intellectual guide and counselor.”48



48 Faculty Evaluation, UNIV. OF FLA., https://perma.cc/QK2K-54DT (last visited Dec. 3, 2024).



                                              41
   Case 1:25-cv-00016-MW-MJF              Document 49        Filed 04/08/25      Page 42 of 89




       79.     Plaintiffs like Dr. Austin, as tenured faculty members, are held to high

standards. At UF, the broad criteria for granting tenured positions include:

(1) instruction, including classroom teaching, theses, dissertations, academic

advisement, extension programs, and “all preparation for this work including

study to keep abreast of one’s field”; (2) research or other creative activity; and

(3) professional and public service.49 Tenured faculty members are further

required to, among other things, produce “[e]vidence of a high level of

professional impact, including regular participation in invited presentations or

conferences.”50 Accordingly, research, publications, and participation in

academic gatherings and conferences are critical to the hiring, retention, and

advancement of faculty.

       80.     Given S.B. 266’s vague and overbroad prohibitions, professors at

Florida’s colleges and universities fear how their ordinary conduct, potentially

violative of S.B. 266, may impact their ability to retain their jobs at all. Tenured

professors must now undergo “a comprehensive post-tenure review every 5




49 See UNIV. OF FLA. Reg. 6C1-7.019 § 4.


50 University Criteria for Post-Tenure Review, UNIV. OF FLA., https://perma.cc/4HZ8-FK7W

(last visited Jan. 13, 2025). Similarly, at FSU, when evaluating a candidate’s folder, the Office
of the Provost “expects[s] every successful candidate to demonstrate a substantial commitment to
both quality and quantity in teaching and research/creative activities as well as in public service.”
Promotion and Tenure, FLA. STATE UNIV., https://perma.cc/SYA3-BEHN (last visited Dec. 3,
2024).

                                                 42
      Case 1:25-cv-00016-MW-MJF            Document 49   Filed 04/08/25   Page 43 of 89




 years.”51 As part of this review, professors are assessed for their “non-compliance

 with state law, Board of Governors’ regulations, and university regulations and

 policies.”52 Without any clear guidance as to how to comport their conduct to

 S.B. 266’s broad-sweeping provisions, professors work in fear that anything they

 say or do may eventually lead them to lose their tenure or jobs.

                B. Denial of Plaintiff Austin’s Request for UF’s Support

          81.      Plaintiff Austin is a tenured Professor of Political Science at UF. She

 teaches courses and conducts research on African American politics, minority

 politics, American government, public law, and public policy. As a Professor,

 Plaintiff Austin is expected to present her research at conferences to share her

 findings with other experts, to receive feedback on her work, and to contribute to

 the advancement of her field. Because of this expectation, UF provides funds that

 professors, like Dr. Austin, use to cover expenses associated with attending or

 presenting at a conference.

          82.      Each year, members of UF, including faculty, staff, and students,

 attend the Diversity Abroad Conference, an annual conference for education

 professionals, students, and stakeholders “dedicated to advancing student success




51
     Fla. Stat. § 1001.706(6)(b) (2023).
52 BOG Reg. 10.003(3)(a)3.



                                                43
   Case 1:25-cv-00016-MW-MJF          Document 49      Filed 04/08/25    Page 44 of 89




through access to the benefits of global education.”53

       83.    In 2023, Plaintiff Austin, in her capacity as a professor and fully

funded by UF, attended the Diversity Abroad Conference where she presented her

scholarship on academic freedom as well as on international courses and study

abroad experiences. The next year, Diversity Abroad asked Plaintiff Austin to

return and to present her scholarship at the 2024 conference. She planned to

present, and receive feedback on, a book that she is writing, focused on academic

freedom and restrictions on diversity, equity, and inclusion across the United

States. As she had done the year before, Plaintiff Austin requested funding to

attend the Diversity Abroad Conference from UF’s International Center.

       84.    In March 2024, UF’s International Center denied Plaintiff’s request

because UF believes that Diversity Abroad’s focus on minority representation and

diversity of thought runs afoul of S.B. 266 and Regulation 9.016. On March 30,

2024, Plaintiff asked her Department Chair if funds from the Political Science

Department could be utilized instead of funds from the International Center. In an

email on April 8, 2024, UF again rejected Plaintiff’s request, reiterating that “state

dollars may not be used” to pay for the Diversity Abroad Conference due to

S.B. 266’s expenditure restrictions.


53 Global Inclusion Conference, D IVERSITY ABROAD, https://perma.cc/B7MS-XUCA (last visited

Dec. 26, 2024).

                                            44
   Case 1:25-cv-00016-MW-MJF           Document 49      Filed 04/08/25    Page 45 of 89




       85.    Conferences like Diversity Abroad are not just important

opportunities for educators to engage with other experts in their fields to enrich

their own perspectives, but they are also invaluable chances for educators to

present their own research and promote their work to new audiences. Plaintiff

Austin hoped to rely on these types of events to showcase her forthcoming book

and other research. However, as a result of S.B. 266, Plaintiff Austin lost this

important educational and professional opportunity. Despite the university’s

denial of Plaintiff Austin’s request for funding in 2024, Plaintiff Austin intends to

seek funding from UF to attend the Diversity Abroad Conference in October 2025

and in the future.

       86.    Plaintiff Austin also intends to request funding to attend the National

Conference of Black Political Scientists (“NCOBPS”) in 2025. Established in

1969, NCOBPS is a prestigious academic program organized to “study, enhance,

and promote the political aspirations of people of African descent in the United

States, and throughout the world.”54 This year, NCOBPS selected Plaintiff Austin

to serve as its President. In previous years, Plaintiff Austin has always used

funding from the UF Department of Political Science to attend this annual

conference. Because NCOBPS explicitly aims to advance diverse perspectives in


54 National Conference of Black Political Scientists, AMERICAN POLITICAL SCIENCE

ASSOCIATION (last visited Apr. 7, 2025), https://perma.cc/756U-8LFD.

                                             45
  Case 1:25-cv-00016-MW-MJF        Document 49     Filed 04/08/25   Page 46 of 89




Political Science and to “promote[] research in and critical analysis of topics

usually overlooked and/or marginalized in political science scholarship,” Plaintiff

Austin fears that UF will deny her request for funding at this important career

juncture, just as it has done with the Diversity Abroad conference.

     87.    Plaintiff Austin also plans to seek funding from UF for additional

conferences with events focused on diversity, equity, and inclusion to present her

research on that topic. In September 2025, she plans to attend the American

Political Science Association (“APSA”) conference in Vancouver and the

Southern Political Science Association conference in New Orleans in January

2026. At both conferences, she will participate in roundtable discussions about

the assault on diversity, equity, and inclusion programs and discuss her diversity-

related research. Because she plans to speak at a diversity-related talk and present

her research on diversity, equity, and inclusion—the very research UF hired her to

do as part of her role as a professor—Plaintiff Austin fears she will again be

denied funding by the UF Department of Political Science just as she was last

semester. In addition, Plaintiff Austin plans to apply for a grant from the UF

Center for the Humanities to hold a speaker's workshop about her 2023 co-edited

book, Beyond Racial Capitalism: Cooperatives in the African Diaspora. Despite

having previously received four such grants to discuss her research, Plaintiff

Austin is concerned that she will be denied funding this year because of S.B.


                                         46
  Case 1:25-cv-00016-MW-MJF       Document 49      Filed 04/08/25   Page 47 of 89




266’s prohibition on funding for programs related to “political or social activism,”

as her book addresses the concept of racial capitalism and critiques a system of

exploitation which targets poor people of color. Finally, Plaintiff Austin plans to

apply again for this year’s Global Inclusion Conference (formerly the Diversity

Abroad Conference), using funds from the UF International Center or UF’s

Department of Political Science, as she did last year.

     88.    Dr. Austin fears that UF will continue to enforce S.B. 266’s

viewpoint-discriminatory funding ban to deprive her of financial support for her

ongoing research activities. Furthermore, Dr. Austin also plans to seek promotion

to serve as a Distinguished Professor at UF, a role which would depend on her

continued engagement and recognition in the academic community. Attending

prestigious conferences like APSA and NCOBPS are all the more important

because they would allow her to receive the rigorous feedback and

recommendations she needs to continue publishing high-quality research.

     89.    UF has also refused to fund diversity-, equity-, and inclusion-related

research and travel to conferences for graduate students. In doing so, UF has

deprived these students of opportunities for academic enrichment and professional

development.

     90.    In addition to denying requests to use university funding to attend

academic conferences based on viewpoint, UF has also prevented Plaintiff Austin


                                        47
   Case 1:25-cv-00016-MW-MJF         Document 49        Filed 04/08/25   Page 48 of 89




from accessing university funding to host lectures and colloquiums espousing

disfavored speech. After Plaintiff Austin and several colleagues obtained a grant

from the UF Center for the Humanities and Public Sphere to host an on-campus

symposium, “War in Israel and Palestine,” UF reversed its decision and told

organizers that they could not use university funding or on-campus spaces to host

the event, insisting that “nobody should show up.”55 Faculty and students were

forced to find alternative funding sources to support the symposium and

eventually had to move the event to the Westminster Presbyterian Church in

Gainesville.

            C. Threatened Enforcement of S.B. 266’s Funding Ban Against
               Plaintiffs Marr, Queeley, and Rahier
      91.      Plaintiffs Marr and Queeley rely on university funding to attend

conferences and present their research. For example, Plaintiff Marr intends to

attend the annual meetings of the American Sociological Association from August

8 to 12, 2025 in Chicago. He has submitted a paper presentation titled “How Do

Race and Ethnicity Shape Housing Outcomes After Homelessness in a Hispanic

Majority County? Miami-Dade County’s Continuum of Care as a Racialized

Organization.” In the past, Plaintiff Marr has been reimbursed by FIU for his

travel and conference expenses. Because of S.B. 266, Plaintiff Marr fears that his


55 Avery Parker, UF Canceled Symposium on Gaza Conflict, THE FLORIDA INDEPENDENT

ALLIGATOR (Nov. 4, 2024), https://perma.cc/S782-XA25.

                                           48
  Case 1:25-cv-00016-MW-MJF         Document 49    Filed 04/08/25   Page 49 of 89




travel and conference expenses will not be reimbursed due to the subject matter of

his paper.

     92.     Plaintiff Queeley also intends to apply for funding from FIU to attend

and present her paper “Monumental Musings: ‘Germs of Rot’ and the

Regeneration of Public Space” at the Caribbean Philosophical Association’s

“Fanon at One Hundred” conference, scheduled for July 15-20, 2025, in

Martinique. The “Fanon at One Hundred” conference will celebrate the life and

work of Frantz Fanon, a Martinican philosopher whose work is influential in the

fields of post-colonial studies and critical theory. Although Plaintiff Queeley has

applied for funding from FIU to attend conferences in the past without issue, she

is concerned that this funding request will be denied due to the possibility that the

subject matter of the conference and her paper could be viewed as violating S.B.

266. If her funding request is denied, Plaintiff Queeley will not be able to attend

the conference and will miss out on this opportunity to present her scholarship and

to receive feedback on her paper.

     93.     Plaintiffs Marr and Rahier are tenured professors at FIU who

specialize in (1) Sociology and (2) Anthropology and African and African

Diaspora Studies, respectively. At FIU, Plaintiffs Marr and Rahier rely on

university and state funding to support events hosted by their Department, such as

guest lectures from visiting scholars, as well as their own individual research and


                                         49
  Case 1:25-cv-00016-MW-MJF        Document 49     Filed 04/08/25   Page 50 of 89




scholarship activities. Last year, Plaintiff Marr’s Department, the Global and

Sociocultural Studies Department, requested and was initially denied funding to

host a guest lecturer for their departmental graduate colloquium—a core

community building series for the department and a cornerstone for graduate

student academic enrichment and professional development. FIU initially denied

the request because the lecturer’s talk was about “Blackness;” FIU later reversed

the denial and agreed to fund the lecturer. But FIU’s about-face has only caused

greater confusion. Plaintiffs Marr and Rahier are concerned that funds for future

talks about racial inequities and other issues may be denied due to S.B. 266. In

addition, Plaintiffs Marr and Rahier worry that Defendants’ threatened

enforcement of the funding ban will impact their individual research efforts, as

both plaintiffs have previously relied on and expect to continue to apply for state

and federal funding to support their scholarship focusing in part on racial equity.

     94.    Enforcement of S.B. 266’s funding ban not only harms Plaintiffs’

ability to attend conferences, host guest lecturers, and conduct research, it exposes

them to risk during the post-tenure review process. Because FIU considers a

professor’s compliance with state law and the BOG’s regulations when

conducting its post-tenure review, see BOG Reg. 10.003(3)(a)3, if Plaintiffs Marr,

Queeley, or Rahier were to use state funds in violation of S.B. 266, they could risk

serious repercussions, up to and including termination. Plaintiffs are thus forced


                                         50
   Case 1:25-cv-00016-MW-MJF            Document 49       Filed 04/08/25   Page 51 of 89




to make an impossible choice as to whether to use state funds to further their

academic pursuits and risk a negative post-tenure review or to refrain from

requesting state funds at all.

             D. Defendants’ Viewpoint-Based Discrimination Violates Plaintiffs’
                First Amendment Rights
       95.     Academic freedom encompasses “speech related to scholarship or

teaching.” Garcetti v. Ceballos, 547 U.S. 410, 425 (2006).

       96.     Conferences like Diversity Abroad and departmental colloquiums are

an integral part of scholars’ efforts to workshop, develop, and communicate their

scholarship. Further, UF’s university-wide criteria for post-tenure review requires

faculty members to produce “evidence of a high level of professional impact” by

participating in “invited presentations [and] conferences . . . within one’s field. ”56

       97.     Plaintiff Austin was invited to the Diversity Abroad Conference to

communicate her scholarship and to teach an audience about an array of issues

related to her work and research. Likewise, Plaintiffs Rahier and Marr routinely

present at academic conferences and invite guest lecturers in turn to speak at FIU

through their department as an essential part of developing their research and

scholarship—which supports their “accomplishments and productivity . . . in

research” as assessed under FIU’s university-wide criteria for post-tenure



56 University Criteria for Post-Tenure Review, supra note 50.



                                               51
   Case 1:25-cv-00016-MW-MJF           Document 49       Filed 04/08/25    Page 52 of 89




review.57

       98.    Attending and presenting at conferences like Diversity Abroad

Conference, APSA, NCOBPS, the American Sociological Association annual

meetings, and Caribbean Philosophical Association’s “Fanon at One Hundred”

conference; inviting guest lecturers to speak at graduate colloquiums; and

exchanging ideas with other scholars are protected by Plaintiffs’ First Amendment

rights and fall plainly under UF’s and FIU’s criteria for tenured faculty.

       99.    Although Defendants are authorized to make decisions regarding

allocation of resources, they cannot apply viewpoint discriminatory conditions to

generally available funds. See Rosenberger, 515 U.S. at 837. Denying Plaintiffs

access to generally available funds because of the content of their speech is a

distinct First Amendment injury because when the government offers a non-

competitive benefit, it cannot condition receipt of that benefit on giving up

constitutional rights. See Perry v. Sindermann, 408 U.S. 593, 597 (1972) (the

government “may not deny a benefit to a person on a basis that infringes his

constitutionally protected interest, especially his interest in freedom of speech”).

       100. UF’s International Center and its Department of Political Science

denied Plaintiff Austin’s request for funding because S.B. 266 and


57 Post-Tenure Faculty Review Procedures, FLA. INT’L UNIV. (last accessed Apr. 7, 2025),

https://perma.cc/8BPX-F52T.

                                              52
  Case 1:25-cv-00016-MW-MJF        Document 49     Filed 04/08/25   Page 53 of 89




Regulation 9.016 prohibit the use of state funding for conferences where she

expresses her particular viewpoint—as an expert and contributor to education and

scholarship promoting minority representation and diversity of thought.

     101. Because Plaintiffs Marr, Rahier, Queeley, and Austin intend to speak

on matters of public concern, and the challenged regulations constitute a

“wholesale deterrent to a broad category of expression by a massive number of

potential speakers” rather than a “single supervisory decision,” the government

cannot satisfy its burden to demonstrate that “the interests of both potential

audiences and a vast group of present and future employees in a broad range of

present and future expression are outweighed by that expression’s ‘necessary

impact on the actual operation’ of the Government.” United States v. Nat’l

Treasury Emps. Union (“NTEU”), 513 U.S. 454, 467–68 (1995). Here, “unlike an

adverse action taken in response to actual speech, this ban chills potential speech

before it happens.” Id. The research that Plaintiff Austin planned to present at

Diversity Abroad and plans to present at future conferences evaluates and

criticizes anti-DEI legislation, while Plaintiffs Marr, Queeley, and Rahier intend

to speak on topics including racial equity, anti-colonialism, and homelessness.

Their speech at academic conferences constitutes the core of First Amendment-

protected speech. See Meyer v. Grant, 486 U.S. 414, 421 (1988) (“The First

Amendment was fashioned to assure unfettered interchange of ideas for the


                                         53
    Case 1:25-cv-00016-MW-MJF          Document 49       Filed 04/08/25     Page 54 of 89




 bringing about of political and social changes desired by the people.” (citation

 omitted)). The State cannot show that its interest in suppressing advocacy for DEI

 and political or social activism outweighs the interests of Plaintiffs’ potential

 audiences.

        102. Defendants unconstitutionally infringed on Plaintiffs’ academic

 freedom and free speech rights because of S.B. 266 and Regulation 9.016.

             E. The State’s Continued Support of Favored Speech

        103. While discriminating against disfavored speech, Defendants continue

 to provide support for speech they favor.

        104. The Hamilton Center, an independent university academic center at

 UF “devoted to research and teaching on Western civilization,”58 has received $30

 million dollars in state funding in 2023.59 By contrast, the university’s only other

 independent academic center, the Center for Latin American Studies, received

 only $3.5 million in the same period.60

        105. The Hamilton Center hosts events like “Philosophy of Religion in an




58 Promoting Scholarship and Shaping Leaders for a Free Society, UNIV. OF FLA.: HAMILTON

CTR., https://perma.cc/GX43-EF6R (last accessed Jan. 9, 2025).
59 See Sophia Bailly and Alissa Gary, Hamilton Center: Emphasizing apolitical position

following controversial foundation, THE INDEPENDENT FLORIDA ALLIGATOR (Dec. 4, 2023),
https://perma.cc/F48H-EH6K.
60 See id.



                                              54
   Case 1:25-cv-00016-MW-MJF           Document 49      Filed 04/08/25     Page 55 of 89




Age of Growing Non-religion”61 and “The Political Thought of David Hume: The

Origins of Liberalism and the Modern Political Imagination.”62 Because these

topics fall within the State’s favored speech and preferred view of the Western

Canon, they have not been targeted, despite the fact that they arguably fall within

S.B. 266’s prohibition of “political or social activism.”

   IV.    The Sweeping Effects of Unconstitutional Restrictions

          A. Overbreadth and Vagueness

       106. S.B. 266 and Regulation 9.016 are substantially overbroad because

their scope expands beyond government speech to private expression and results

in a chilling effect on both faculty and students. Furthermore, the targeting of any

activity intended to promote change in government policy or action is likewise

unconstitutionally overbroad, as it could cover any form of political expression.

Here, although S.B. 266 and Regulation 9.016 were plainly drafted to target

certain disfavored viewpoints and have been enforced to limit only those

viewpoints, their language sweeps so broadly as to ostensibly prohibit funding for

all speech related to “political and social activism.” Because political speech lies

at the core of the First Amendment, the State cannot restrict speech merely


61 Philosophy of Religion in an Age of Growing Non-religion, UNIV. OF FLA.: HAMILTON CTR.

(Nov. 19, 2024), https://perma.cc/D5PS-UDKG.
62 The Political Thought of David Hume: The Origins of Liberalism and the Modern Political

Imagination, UNIV. OF FLA.: HAMILTON CTR. (March 25, 2024), https://perma.cc/6GJN-B38N.

                                             55
  Case 1:25-cv-00016-MW-MJF        Document 49     Filed 04/08/25   Page 56 of 89




because it is political, nor can it avoid the First Amendment’s restriction on

viewpoint discrimination by broadly restricting all political expression and

enforcing the law only as to disfavored viewpoints. Cf. Elrod v. Burns, 427 U.S.

347, 356 (1976) (“[P]olitical belief and association constitute the core of those

activities protected by the First Amendment.”); Legal Services Corp. v. Velazquez,

531 U.S. 533, 548 (2001) (“It is fundamental that the First Amendment was

fashioned to assure unfettered interchange of ideas for the bringing about of

political and social changes desired by the people”) (internal quotations omitted).

Because S.B. 266 and Regulation 9.016 burden a substantial amount of protected

speech, they are violative of the First Amendment.

     107. S.B. 266 and Regulation 9.016 are also void for vagueness under the

First and Fourteenth Amendments as they (1) fail to provide notice that would

allow “ordinary people to understand what conduct [they] prohibit” and

(2) “authorize and even encourage arbitrary and discriminatory enforcement.”

City of Chicago v. Morales, 527 U.S. 41, 56 (1999).

         B. The Impact on General Education Curricula

     108. Since S.B. 266 became effective, faculty and students at state-funded,

higher education institutions—such as UF, FSU, USF, and FIU—have suffered

from the law’s devastating impact on their institutions’ general education

curricula. Under S.B. 266, the general education curricula at Florida’s state


                                         56
      Case 1:25-cv-00016-MW-MJF       Document 49     Filed 04/08/25   Page 57 of 89




 colleges and universities are subject to periodic review and approval by the BOG

 and such colleges’ or universities’ BOT for compliance with its restrictions. S.B.

 266 does not provide clear guidance as to what may qualify or disqualify a course

 from receiving general education status. Rather, section 1007.25(3)’s vague

 language broadly restricts any course from receiving general education status if it

 “distort[s] significant historical events,” “teaches identity politics,” or is “based on

 theories that systemic racism, sexism, oppression, and privilege are inherent in the

 institutions of the United States and were created to maintain social, political, and

 economic inequities.”63 Similarly, section 1007.55(1)’s prohibitions on “[c]ourses

 with a curriculum based on unproven, speculative, or exploratory content” fail to

 provide workable boundaries or guidelines.64

          109. S.B. 266 is unconstitutionally vague. For several reasons, it is

 impossible for institutions or faculty members, looking at the plain language of

 sections 1007.25(3) or 1007.55(1), to know whether a course will be disqualified

 from receiving general education status.

          110. First, a university or professor asking whether a course “distort[s]” a

 “significant historical event” would have to determine whether the event covered

 by the course is “significant.” But this would fall to the independent judgment of


63
     Fla. Stat. 1007.25(3).
64 Fla. Stat. 1007.55(1).



                                            57
  Case 1:25-cv-00016-MW-MJF         Document 49     Filed 04/08/25   Page 58 of 89




the university or professor, as section 1007.25(3) does not provide a list of

“significant historical events,” nor does it present any criteria to determine

whether a historical event was significant. If the event is deemed significant, then

the university or professor would have to identify the “State-accepted” or “true”

account of the historical event because one can only “distort” (i.e., present a

misleading or false account of) a historical event if there is an “accepted” or “true”

recounting of the event. This necessarily assumes that there is a singular

perspective of the historical event that the Legislature expects professors to teach.

If the university or the professor were able to identify the “correct” perspective of

the event in question, they would then be tasked with determining whether the

course “distorts” that event. It could be that presenting different accounts about

an event counts as distortion, or this could be seen as teaching critical thinking.

Section 1007.25(3) does not provide meaningful guidance as to what may qualify

as “distort[ing] a significant historical event.”

      111. Second, section 1007.25(3) does not define “identity politics.” Nor is

that term defined in S.B. 266 or Regulation 9.016. Left to their own devices,

universities and faculty members are forced to determine whether a course

impermissibly discusses any political movements or issues pertaining to a

particular social group. Without more, any course touching on the abolition of

slavery, the Civil War, the civil rights movement, women’s suffrage, or even


                                          58
  Case 1:25-cv-00016-MW-MJF        Document 49     Filed 04/08/25   Page 59 of 89




Anglo-Christian American history could teach “identity politics” in violation of

S.B. 266.

     112. Third, there is no way for universities or faculty members to

understand with certainty whether a course’s contents are “unproven, speculative,

or exploratory” under section 1007.55(1). Without any further guidance, courses

on world history, literature, and the basic sciences, for example, could all run

afoul of S.B. 266 as “unproven” by some unclear standard, “speculative” as to an

undefined arbiter, or “exploratory” in the eyes of one BOT, but not another. Such

undefined standards are impossible for Plaintiffs and other similarly situated

individuals to follow.

     113. Plaintiff Belgrad, for example, plans to reapply for general education

status for two of his courses, “Twentieth Century American Culture” and

“Introduction to American Studies” (both of which were struck from the list of

proposed USF general education courses because of S.B. 266), and plans to teach

one course still approved for general education status, “Introduction to

Humanities.” Despite reading the law carefully, Plaintiff Belgrad does not know

how to avoid violating S.B. 266 because of how vague it is. In “Introduction to

Humanities,” for example, Plaintiff Belgrad instructs students through three main

units: Students learn about painting and architecture by studying the painting and

architecture of modernism; they learn about literature and film by studying stories


                                         59
   Case 1:25-cv-00016-MW-MJF          Document 49       Filed 04/08/25     Page 60 of 89




and films based on veterans' accounts of the Vietnam War; and they learn about

music and dance by studying the music and dance of the African diaspora.

Because the definitions in the general education provision of S.B. 266 and its

enabling Regulations are so vague, any of these units could reasonably violate

S.B. 266’s prohibition on teaching identity politics or “exploratory” content,

leading to negative consequences for Plaintiff Belgrad in the form of losing his

ability to teach the course or facing a negative post-tenure review.

       114. The possibility that a course could be seen as teaching “identity

politics” is a real concern that universities face when determining whether a

course can qualify for general education status. For example, at a November 21,

2024, FSU BOT Meeting, FSU’s Dean of Academic Affairs addressed concerns

that S.B. 266 would impact classes such as “A History of the United States Since

1877,” a survey course that teaches about “the United States from the end of the

Civil War to the present with a special emphasis on the social, economic, and

political problems of the twentieth century.”65 The Dean replied that although

such classes may continue to be offered at the university, those classes would not

qualify for general education status if they did not meet the “definitions” of



65 FSU Board of Trustees | General Meeting | November 21, 2024, at 2:21:13, YOUTUBE

(streamed live on Nov. 21, 2024), https://perma.cc/7RQY-NRBE (last accessed Jan. 14, 2025);
see also Course Description, A History of the United States Since 1877, FLA. STATE UNIV.
https://perma.cc/CD39-3MA9 (last visited Dec. 3, 2024).

                                             60
      Case 1:25-cv-00016-MW-MJF       Document 49     Filed 04/08/25   Page 61 of 89




 communications, mathematics, social sciences, humanities, or natural sciences.66

 Appearing to build on the Dean’s remarks, the Chair of Trustees, Peter Collins,

 replied, “The BOG and the Legislature isn’t trying to restrict people from learning

 where they decide to seek knowledge,”67 before implying that, when determining

 whether to approve a course for general education status, the BOG would consider

 whether the course involved perspectives on race, for example, with which the

 BOG disagreed. Specifically, Collins remarked that a mathematics course could

 qualify as a general education course because, “Math is math. Math isn’t racist.

 Math is math.”68

          115. When it comes to the prohibition on “teach[ing] identity politics,” the

 BOG has applied this prohibition in an arbitrary and discriminatory manner. For

 example, despite the fact that “A History of the United States Since 1877”

 demands that students “[c]ritically examine, interpret, and explain how personal,

 political, economic, and social experiences and/or structures shape the history of

 the United States,” which arguably involves teaching “identity politics,” the BOG

 approved the course for general education status. At the same time, however, the

 BOG denied general education status to “Introduction to the African American


66 Id. at 2:21:38.


67
     Id. at 2:22:34.
68 Id. at 2:22:54.



                                            61
   Case 1:25-cv-00016-MW-MJF              Document 49        Filed 04/08/25     Page 62 of 89




Experience,” a 2000-level course that examines “the ways that Black people have

historically and presently shaped politics, economies, cultures, and intellectual

spheres of thought within the Americas.”69 Although both of these courses

discuss the evolution of the United States, only “Introduction to the African

American Experience” was removed from the general education catalog. These

inconsistent results demonstrate the arbitrary and discriminatory implementation

of a vague statute that fails to provide universities and faculty members with

needed clarity as to whether a course may qualify for general education status.

       116. Moreover, S.B. 266’s prohibition against courses “based on theories

that systemic racism, sexism, oppression, and privilege are inherent in the

institutions of the United States and were created to maintain social, political, and

economic inequities” has disproportionately affected faculty members teaching

Social Science courses (e.g., sociology and anthropology) and Humanities courses

because such courses are more likely to cover topics disfavored by the State (i.e.,

systemic racism, critical race theory, gender, white privilege, etc.) that may violate

the statute.70


69 Shantel Gabrieal Buggs, AFA 2000: Intro to the African American Experience,

https://perma.cc/MW82-BLET (last visited Jan. 14, 2025).
70 The language of the prohibition also fails to provide faculty members with guidance on what

has been banned from their curriculum. For example, faculty members have wondered whether
these theories can be taught as “inherent in the institutions of the United States” if they are not
taught as being “created to maintain social, political, and economic inequities,” or vice versa.

                                                 62
   Case 1:25-cv-00016-MW-MJF             Document 49       Filed 04/08/25     Page 63 of 89




       117. Sociology, Anthropology, English, and African American Studies

professors, for example, have experienced significant scrutiny from the leaders of

their institutions, who wield S.B. 266’s sword at the direction of Florida’s BOG

and their institutions’ boards of trustees.71 When their courses were flagged by

their university’s provost—acting under the direction of the BOG—for potentially

violating the statute, these professors were asked to either edit the title and/or the

description of the course or risk the course’s removal from the general education

course catalog.

       118. At UF, two of Plaintiff Austin’s courses were flagged by the Provost’s

Office for non-compliance with S.B. 266: “Politics of Race” and “Black Horror

and Social Justice.” These courses previously satisfied UF’s general education

requirements, but, according to the Assistant Provost, the courses now violate S.B.

266’s “text about identity politics and systemic racism.” At the Provost Office’s

instruction, Plaintiff Austin made changes to the course descriptions and altered a

module on microaggressions. On December 6, 2024, Plaintiff Austin was notified

that both of her courses had not been approved for general education credit.


71 This scrutiny has come from all levels of the Florida University system.For example, on
December 8, 2023, Florida Commissioner of Education Manny Diaz posted on X, formerly
Twitter, “Sociology has been hijacked by left-wing activists and no longer serves its intended
purpose as a general knowledge course for students. Under @GovRonDeSantis, Florida’s higher
education system will focus on preparing students for high-demand, high-wage jobs, not woke
ideology.” Manny Diaz Jr. (@CommMannyDiazJr), X (Dec. 8, 2023, 11:32 AM),
https://perma.cc/P2YY-UKLX.

                                                63
   Case 1:25-cv-00016-MW-MJF          Document 49       Filed 04/08/25    Page 64 of 89




Plaintiff Austin was also informed by the Associate Dean of the College of

Liberal Arts and Sciences that while the BOG did not provide an explanation for

the course rejections, it appeared likely that any courses dealing with identity,

culture, race, or gender did not make it on the final approval list, regardless of the

approach or the value of the course. Plaintiff Austin is scheduled to teach

“Politics of Race” at UF during the Summer B 2025 and Fall 2025 semesters;

“Black Horror and Social Justice” during the Fall 2025 semester; and another

course that she has taught previously, “Women of Color and the Law,” during the

Spring 2026 semester. She intends to submit all three courses for general

education approval.

       119. Meanwhile, other courses at UF that cover traditional, conservative

viewpoints on identity politics have not been affected by S.B. 266’s enactment.

These courses include: (1) “What is the Common Good?,” a general education

course that features a module on the “structure of traditional marriage and

family”72; (2) “God and Science,” a general education course that “considers the

relationship of thinking about God and thinking about nature from classical

antiquity until the early twentieth century”73; and (3) “The Search for Meaning in


72 Syllabus for “IDS 2935: What is the Common Good?” https://perma.cc/46KH-BXMS (last

accessed Jan. 14, 2025).
73 Syllabus for “IDS 2935: God and Science,” https://perma.cc/MNY4-PTJ2 (last accessed

Jan. 14, 2025).

                                             64
   Case 1:25-cv-00016-MW-MJF            Document 49          Filed 04/08/25   Page 65 of 89




a Secular Age,” a general education course which features a module on “‘identity

politics’ (also called ‘wokeism’).”74

       120. At FIU, courses such as “Sociology of Gender”; “Black Popular

Cultures: Global Dimensions”; “Anthropology of Race and Ethnicity”; and

“Myth, Ritual, and Mysticism” were among those targeted and ultimately

removed after the BOG ran keyword searches on course syllabi to confirm

compliance with or violation of S.B. 266 and Regulation 9.016. In some cases

where professors complied with the provost’s later request to revise the courses,

such courses still were not approved and were removed from the general

education course catalog—as was the case for FIU’s “Myth, Ritual, and

Mysticism,” an introductory course to the anthropological study of religion. Even

where FIU’s Faculty Senate reviewed and voted against the general education

course list curated by FIU’s provost, FIU’s BOT disagreed with the Faculty

Senate and ultimately approved the general education course list that excluded

certain social science courses (including “Sociology of Gender,” “Black Popular

Cultures: Global Dimensions,” “Anthropology of Race and Ethnicity,” and “Myth,

Ritual, and Mysticism”).

       121. At FSU, courses like “Women in Literature” and “Third World


74 Syllabus for “IDS 2935: The Search for Meaning in a Secular Age,”

https://tinyurl.com/545kk6p3 (last accessed Apr. 4, 2025).

                                               65
  Case 1:25-cv-00016-MW-MJF       Document 49      Filed 04/08/25   Page 66 of 89




Cinema” also lost their general education designation. Although FSU reviewed

and submitted these courses to be approved for general education designation, the

BOG determined that the courses violated S.B. 266, even though it is not clear by

their names or descriptions that these courses actually violate the law. In one

case, a class designed by Plaintiff Goodman, “Perspectives on the Short Story,” a

3000-level class, was denied general education status; it was, however, later

allowed to remain a general education course after FSU changed it to a 2000-level

class; removed the term “Perspective” from the title, changing the name of the

course to “Introduction to the Short Story”; and updated its course description to

provide that the course included selections from the “Western Canon.” These

changes were deemed sufficient, even though the content of the course did not

change—demonstrating that compliance with S.B. 266 is merely form over

substance in some cases and not in furtherance of any legitimate state interest. To

the extent that these changes are meant to substantively alter the course content,

professors are given little to no guidance on how to comply with the Laws such

that the course can retain its general education status. For example, when Plaintiff

Goodman asked her Department Chair how she or another instructor could

determine what constitutes the “Western Canon,” she was told that the university

had not been given, and would not provide, guidance on how to comply with this

requirement. Moreover, because of S.B. 266, introductory courses at FSU that


                                        66
  Case 1:25-cv-00016-MW-MJF       Document 49      Filed 04/08/25   Page 67 of 89




would otherwise fall squarely within the categories enumerated by the Legislature

as general education are being removed, such as “Introduction to Shakespeare”

and “Criminology.”

     122. Not only is S.B. 266 unconstitutionally vague, S.B. 266 and its

implementing Regulations are overbroad in violation of the First Amendment.

They are particularly harmful in that they coerce educators to err on the side of

avoiding discussion of viewpoints disfavored by the State for fear of losing

general education status for their courses or risking a negative post-tenure review.

         123.      By prohibiting the teaching of curriculum that “distort[s]

significant historical events” or is “based on theories that systemic racism,

sexism, oppression, and privilege are inherent in the institutions of the United

States and were created to maintain social, political, and economic inequities,”

Plaintiffs are unable to discern whether S.B. 266 penalizes speech espousing their

personal viewpoints. For instance, while professors at public universities are

apparently free to speak about racial and gender inequities in their general

education courses, Plaintiffs fear that S.B. 266 might prohibit them from

discussing or endorsing the viewpoint that such inequities are “inherent” in the

institutions of the United States. This reasonable reading of the statute supports

an understanding that S.B. 266 targets speech based not on content but viewpoint,

which the Eleventh Circuit has recently described this as “the greatest First


                                         67
  Case 1:25-cv-00016-MW-MJF        Document 49     Filed 04/08/25    Page 68 of 89




Amendment sin” and “likely [] invalid per se.” Honeyfund.com Inc. v. Governor,

94 F.4th 1272, 1277–78 (11th Cir. 2024). If this reading is inaccurate,

Defendants have not helped Plaintiffs understand how to comply. For example,

professors are plainly allowed to generally discuss the subject of racial

discrimination and are free to opine that racism is inherent in the institutions of a

foreign country like South Africa but are apparently forbidden to espouse this

view with respect to the United States. Likewise, a professor may teach about the

adoption of the Three-Fifths Compromise without worry but must decide for

themselves whether they may suggest that the inclusion of this text in Article I of

the U.S. Constitution constitutes racism inherent in a U.S. institution. In addition,

S.B. 266’s prohibition on curriculum that “distort[s] significant historical events”

in general education classes itself appears to presuppose that there is single

correct interpretation of the meaning of a historical event. Plaintiffs, particularly

considering the subjects they have been hired to teach, must chill or suppress their

speech to avoid running into S.B. 266’s vague and overbroad direction.

     124. Furthering these fears, Regulation 8.005 removed introductory

sociology courses from the list of state-level general education core courses

wholesale due to the belief that concepts in the courses purportedly teach “woke




                                         68
   Case 1:25-cv-00016-MW-MJF         Document 49   Filed 04/08/25   Page 69 of 89




ideology.”75 Plaintiff Marr is teaching “Introduction to Sociology” in Fall 2025.

Because “Introduction to Sociology” was removed from the state-wide general

education curriculum mandated by Regulation 8.005 but not removed from the

university-specific general education curriculum at FIU, he is unsure how to teach

his class in a way that conforms with S.B. 266. He intends to teach his course in a

balanced manner as he always has but fears that his teaching may violate S.B. 266

because of its vague and far-reaching language. In particular, he fears he will be

reported for teaching concepts in violation of S.B. 266, that these reports will go

to his dean and his chair, and that these reports will reflect poorly on him as he

goes through the post-tenure review and promotion processes in the 2025-2026

cycle. He fears that S.B. 266’s arbitrary implementation in the general education

curriculum makes arbitrary application of it going forward likely. Plaintiff Marr

also intends to resubmit Introduction to Sociology for consideration for state-wide

general education curriculum mandated by Regulation 8.005 if possible. He is a

member of the FIU Faculty Senate, and the Provost’s Office has mentioned that

there will be opportunities to reapply for general education course credit in the

future.

       125. It is not just introductory courses that have been removed. The BOG



75 Manny Diaz, Jr., supra note 71.



                                          69
   Case 1:25-cv-00016-MW-MJF             Document 49       Filed 04/08/25      Page 70 of 89




has removed hundreds of courses from the general education catalog. Some

university departments have had all of their courses stripped of general education

status; notably, at UF, both the Women’s Studies and African American Studies

programs have lost general education designation for all their courses.76 At FSU,

for example, 571 courses were submitted to the BOG to receive general education

status.77 As of November 2024, the BOG removed 425 of those courses,

approving only 129 courses for general education.

       126. Changes to a course’s general education status carry potential

long-term effects on entire departments and students. When a course no longer

qualifies for general education, students are less likely to enroll in that course even

if interested in the subject, especially when the course is outside of their major of

study. Such a drop in enrollment could prove fatal to a course’s viability, the

university’s ability to employ Assistant Professors, the amount of funding

provided to a certain department or program, and professors’ overall

compensation as teaching fewer general education courses would lower their



76 The removal of entire departments that teach ideas disfavored by the state appears to be one of

the end goals for S.B. 266. Governor DeSantis explained that “What this bill is saying is, you
know, some of these niche subjects like critical race theory, other types of DEI-infused courses
and majors. . . . Florida’s getting out of that game. You want to do things like gender ideology?
Go to Berkeley. Go to some of those other places.” DeSantis signs bills to return Florida
colleges to ‘classical mission’, ABC7 NEWS (May. 15, 2023), https://perma.cc/2MM7-8BNN.
77 As of November 2024, seventeen courses were updated and are still pending before the BOG

for approval.

                                                70
   Case 1:25-cv-00016-MW-MJF          Document 49       Filed 04/08/25    Page 71 of 89




merit-based compensation. This is so because the Florida Department of

Education uses student enrollment to calculate “Full-Time Equivalent” (“FTE”).78

FTE is used by Florida’s universities to determine funding and space needs,

among other things. If FTE drops, (1) departments could rapidly lose funding due

to this artificial lack of demand for such courses; (2) instructors, like Plaintiffs,

will lose teaching opportunities and/or compensation; (3) faculty will lose

opportunities to mentor graduate students in their fields; and (4) students will lose

their ability to explore other disciplines while still progressing through their major

and toward a timely graduation. At FIU, for example, course cancellation is

determined on a case-by-case basis, but the general policy is that undergraduate

courses with less than 15 students and graduate courses with less than 10 students

should be cancelled. Similarly, at USF, when Plaintiff Belgrad was Chair of his

department, he had to cancel various courses for low enrollment.

       127. Additionally, courses, like “Third World Cinema” at FSU (which the

BOG has not reinstated as a general education course), are likely to have fewer

students enrolled. As a result, professors like Plaintiff Austin, Plaintiff Goodman,

Plaintiff Rahier, Plaintiff Queeley, Plaintiff Rainwater, and Plaintiff Belgrad may

have their classes cancelled. Cancelling classes would not only impact professors


78 FLA. DEP’T OF EDUC., Florida College System Full Time Equivalent (FTE) Procedures, at 4

(Jul. 1, 2020), https://perma.cc/N8RE-C8BK.

                                              71
   Case 1:25-cv-00016-MW-MJF             Document 49       Filed 04/08/25     Page 72 of 89




teaching the course, but it could affect students who rely on certain courses for

their majors as well as a department’s viability if multiple courses within that

department are cancelled. Plaintiffs Rahier and Queeley fear this fate for the

African and African Diaspora Studies Program at FIU, which is especially

vulnerable because of the small size of the program and the fact that the BOG

removed several of the program’s courses from the general education curriculum.

       128. As the former Director, and now affiliate faculty, of the UF African

American Studies Program, Plaintiff Austin fears the program’s vulnerability as a

result of these changes to the general education curriculum. During Plaintiff

Austin’s eight years of service as Director, the College of Liberal Arts and

Sciences frequently discussed the importance of course enrollments. UF’s

Regulations state, “Reasons for terminating an academic program may include,

but are not limited to, the following: Enrollments are no longer sufficient to justify

the cost of instruction, facilities, and equipment.”79 Due to the heavy focus on

enrollments, Plaintiff Austin worked with faculty members to ensure that their

courses could be offered for general education credit, resulting in a significant

increase in course enrollments.80 S.B. 266’s enforcement risks elimination of a


79 UF Reg. 7-100, https://perma.cc/ZF3Z-83BF.


80 For example, in Fall 2007, 10 students enrolled in “Theories of Black America” before the

course gained general education status but attracted 61 students in the Spring 2018 semester after
gaining such status. In Spring 2010, 22 students enrolled in “Introduction to African American


                                               72
   Case 1:25-cv-00016-MW-MJF            Document 49       Filed 04/08/25      Page 73 of 89




program that has served a vital role in educating students and assisting them as

they pursue graduate study and professional careers. Indeed, all of the courses

required for the UF African American Studies major no longer have their general

education status.

       129. Course cancellation may impact a professor’s post-tenure review. For

example, at FIU, tenured faculty are typically assigned two classes in both the Fall

and Spring terms. If classes are cancelled, professors typically make them up by

teaching an additional class in a subsequent term or professors receive additional

assignments. But if their courses are repeatedly cancelled and they are unable to

meet their assignment, Plaintiffs expect that concern to be raised in post-tenure

review.

       130. Determinations that professors have violated S.B. 266 can also

negatively affect their post-tenure review. The BOG specifically requires the

consideration of “[t]he faculty member’s non-compliance with state law, Board of

Governors’ regulations, and university regulations and policies” in post-tenure

review. See BOG Reg. 10.003(3)(a)3. This language is also reflected in



Studies” before the course gained general education status but attracted 70 students in Fall 2018
after gaining general education status. The program offered several sections of the introductory
course and other general education courses and saw its overall enrollment numbers increase from
over 100 students in the Spring 2011 semester to almost 600 students during Fall 2018. The
general education courses were vital to the program’s enrollment numbers and its ability to avoid
elimination due to low enrollments.

                                               73
  Case 1:25-cv-00016-MW-MJF        Document 49     Filed 04/08/25   Page 74 of 89




university guidance on post-tenure review. For instance, FSU Regulation 4.073,

which was recently subject to extensive negotiations with faculty, requires review

of “any findings of an inquiry or investigation of non-compliance with applicable

laws or regulations within the scope of [the Eligible Faculty Member’s]

University employment.” See FSU Reg. 4.073(4)(b)(i). During negotiations

between the BOT and faculty in the summer of 2024, faculty strongly objected to

this provision, contending that consideration of these inquiries or investigations

constituted a form of “double jeopardy,” where faculty professors could be

punished twice for a singular accusation. Despite these objections, the BOT

insisted that the BOG required the university to keep this language in the

regulation, evincing the BOG’s intent to enforce the provision in accordance with

Regulation 10.003(3)(a)3. This is all the more troublesome in the wake of Florida

House Bill 233, which allows students to record professors in class, without their

knowledge, if such recording is made “in connection with a complaint to the

public institution of higher education where the recording was made.” Fla. Stat.

§ 1004.097. Adding to the ever-growing fear of disciplinary action, S.B. 266 also

deprives professors of the long-held opportunity to resolve issues related to

“evaluations, promotions, tenure, discipline, or termination” through third-party




                                         74
   Case 1:25-cv-00016-MW-MJF             Document 49        Filed 04/08/25      Page 75 of 89




arbitration. See Fla. Stat. § 1001.741(2).81 The inclusion of this arbitration ban

has caused Plaintiffs to further fear that disciplinary processes will be used to

enforce S.B. 266, including in the post-tenure review. This risk is particularly

acute and imminent for Plaintiffs Rahier, Queeley, and Marr, who have all been

selected for post-tenure review in the 2025-2026 cycle.

       131. S.B. 266’s impact on undergraduate student enrollment has a ripple

effect on graduate programs and a university’s ability to fund their graduate

programs. As the former director of FIU’s African and African Diaspora Studies

master’s program, Plaintiff Queeley is concerned that declining enrollment in

undergraduate courses will cause FIU to limit the number of Teaching Assistant

(“TA”) positions that the department allots for those courses. Fewer TA positions

means that the university cannot recruit and fund the same number of graduate

students, jeopardizing the viability of the master’s program.

       132. Course reductions also affect universities and colleges’ ability to hire

and retain high-caliber professors. Many professors at Florida universities,

including Plaintiff Rainwater, are employed on a contingent basis, with their

employment status for the following year or semester largely dependent on

student enrollment in their respective departments or courses. Any reduction in


81 This provision of S.B. 266 has been challenged in a separate litigation brought in this Court.

United Fac. of Fla. v. Lamb, No. 1:24-cv-00136-MW-MAF (N.D. Fla. filed Aug. 7, 2024).

                                                75
   Case 1:25-cv-00016-MW-MJF           Document 49       Filed 04/08/25     Page 76 of 89




demand for these professors’ courses, or even courses within the department due

to the correlation between enrollment and funding, threatens their livelihood and

ability to serve as instructors and mentors to students.

           C. The Impact on Student Expression

       133. Connection outside of the classroom is particularly important for free

expression in the university context. Fostering connection often requires creating

or allowing spaces for student and faculty bonding and discussion, and for smaller

communities among the larger campus population. It is within these spaces that

students and faculty are often most comfortable expressing their views on

campus.82 After S.B. 266’s enactment, however, students and faculty alike are

unsure whether or how they are allowed to express their views and are self-

censoring out of a justified fear of legal repercussions.

       134. This self-censorship arises, in part, because Regulation 9.016’s vague



82 Univ. of Fla. Student Senate Bill 2024-1234: “A Resolution Condemning the University of

Florida’s Decision to Terminate Diversity, Equity and Inclusion Offices and Employees,”
https://perma.cc/D6YE-LNXZ (Mar. 21, 2024) (providing that DEI initiatives help students “feel
valued, supported, and included,” by creating “inclusive and equitable educational environments
for University of Florida students”). The termination of DEI policies, among other things, has
caused students of color and other marginalized groups to feel unsafe in classrooms and has
exposed them to “physical aggression and verbal attacks.” Under Siege: Attacks on DEI and its
Implications for Students, DIVERSEEDUCATION.COM, https://perma.cc/252G-C4JT (last visited
Jan. 14, 2025) (summarizing a University of Southern California’s survey of undergraduate
students of color, in which high percentages of Black, mixed-race, Latino, and Asian American
students (1) described their respective college campuses as racist; (2) reported experiencing
physical aggression and verbal attacks; (3) noted racist experiences from white-faculty; and
(4) reported that their emotional-wellbeing had reduced from such incidents).

                                              76
  Case 1:25-cv-00016-MW-MJF        Document 49     Filed 04/08/25   Page 77 of 89




definitions fail to provide clarity as to what conduct is allowed or prohibited and

only add to the confusion of students and faculty trying to determine how they can

express their views on campus. This self-censorship is coupled with the fear that

their conduct may jeopardize funding for research or affinity group-based student

organizations if the university determines that their conduct violates S.B. 266 or

Regulation 9.016.

     135. Students in particular are forced to self-censor because any “student

participation” falls within the ambit of S.B. 266 and Regulation 9.016. Because

“student participation” is defined by Regulation 9.016 as including anything

“other than classroom instruction,” and students often live, work, or research on

campus, the Regulation covers much of their lives. A myriad of activities, ranging

from planning a social event, to attending an academic meeting or participating in

academic research, to merely partaking in a conversation with a fellow student or

faculty member, may be deemed to violate Florida law.

     136. Similarly, Regulation 9.016’s vague definition of “social issues” could

affect hundreds of student organizations in Florida’s public universities—those

deemed by Defendants as drivers of political or social activism, advocating for

change to government policies or actions, or promoting topics that are

“polarizing” or “divide society.” This list of nominally affected organizations

would be unconstitutionally incomplete without the University of Florida’s


                                         77
   Case 1:25-cv-00016-MW-MJF            Document 49        Filed 04/08/25    Page 78 of 89




College Republicans and Federalist Society. The UF College Republicans is an

organization that “push[es] an America First platform in alignment with a truly

conservative Republican Party.”83 This involves hosting events like “You Can’t

Say That!,” a discussion with Professor Mark Bailey on “censorship and who

benefits from it,”84 and a talk with Derek Paul, an “Occupational Therapist who

personally overcame same-sex attraction through Christian faith.”85 The UF

Federalist Society has recently hosted events including “A Post-Dobbs World.”86

These events all fall under Regulation 9.016’s language wide sweep, yet, as

examples of State-favored speech, they have not been targeted in practice.

       137. Supporting over 1,000 student organizations, UF is no stranger to

community engagement in its student body.87 However, S.B. 266 and Regulation

9.016 cast a frigid chill on Florida’s colleges’ and universities’ student

organizations, which is likely to cause many of them to limit their programming



83 College Republicans: Purpose, GATORCONNECT, https://perma.cc/9V34-VTK5 (last visited

Jan. 9, 2025).
84 UF College Republicans (@ufcollegerepublicans), I NSTAGRAM (Mar. 19, 2024),

https://perma.cc/P774-LG8X (last visited Jan. 15, 2025).
85 UF College Republicans (@ufcollegerepublicans), I NSTAGRAM (Aug. 2, 2023),

https://perma.cc/Z927-HZ2X (last visited Jan. 15, 2025).
86 A Post-Dobbs World, FEDERALIST SOCIETY (Oct. 12, 2022), https://fedsoc.org/events/a-post-

dobbs-world, also available at https://perma.cc/W2PH-999P (last visited Jan. 15, 2025).
87 Student Activities & Involvement: Get Involved, UNIV OF FLA., https://perma.cc/MWY3-EBXQ

(last visited Aug. 3, 2024).

                                               78
  Case 1:25-cv-00016-MW-MJF        Document 49     Filed 04/08/25   Page 79 of 89




and activities on campus for fear of risking their access to funding by violating a

law that they do not understand. Although S.B. 266 provides a carve out for

student fees for student-led organizations, student organizations nevertheless

experience a chill in their ability to program and hold events because, among other

reasons, they may not know the source of their funding and whether their

organization is using university funds to hold an event that could arguably

advocate for diversity, equity, and inclusion. And universities have already been

cutting back on their support for certain groups. At UF, for example, the Center

for Inclusion and Multicultural Engagement (“CIME”) had long been a pivotal

resource for student organizations, hosting culture-enriching programs, creating

listservs for student groups, participating in university sponsored mentorship

programs, and so much more. Because of S.B. 266 and Regulation 9.016, CIME

has now shuttered, while equivalent offices continue to operate for First

Generation students and others.

     138. The overbreadth and vagueness of the law and its implementing

Regulations leave too much room for individual interpretation—permitting

Defendant UF BOT members to classify some groups as violative of S.B. 266

whose viewpoints they may disagree with, like programs or activities focused on

supporting abortion rights, the rights of the lesbian, gay, bisexual, and transgender

community, or those focused on exposing racial injustices in the United States.


                                         79
  Case 1:25-cv-00016-MW-MJF        Document 49     Filed 04/08/25   Page 80 of 89




     139. Florida is a large state with a varied population. Without clarification,

the number of actions that may be considered “political or social activism” and

topics deemed “social issues” among a university’s student population are

virtually infinite. Indeed, a course on the American Revolution that discusses the

value and effectiveness of American colonists’ protest in the face of British

tyranny may be interpreted as promoting political and social activism.

         D. Unsupportive and Unwelcoming for Minority Populations

     140. S.B. 266 and Regulation 9.016 prohibit the use of university funds to

advocate for diversity, equity, and inclusion.

     141. Regulation 9.016’s definition of diversity, equity, and inclusion is

vague, contributing to misguided implementation and overbroad enforcement. As

an example, it is unclear whether, under the regulation’s vague and overbroad

definition of “diversity, equity, and inclusion,” gendered sports groups would be

deemed impermissible. This raises the question of whether exempting gendered

athletic clubs from the statute’s sweeping definition of diversity, equity, and

inclusion would be arbitrary.

     142. S.B. 266’s prohibitions against advocating for diversity, equity, and

inclusion threaten fundamental First Amendment rights. Under the legislation’s

vague language, one could argue that providing news coverage of an event run by

a student affinity group might be considered “advocat[ing] for diversity, equity,


                                         80
  Case 1:25-cv-00016-MW-MJF        Document 49     Filed 04/08/25    Page 81 of 89




and inclusion” under its vague and overbroad definition. In fact, this concern has

already been raised at UF. In Fall 2024, a student-run media outlet avoided

covering an affinity group event aimed at discussing how the recent legislation

had impacted their community for fear of losing their school funding.

     143. Relatedly, if a Black professor at UF, like Plaintiff Austin, encourages

a fellow Black professor at UF to apply for a leadership role to expand diversity in

faculty, Defendants may interpret this as unlawful hiring or recruiting under

S.B. 266. Such bans on advocating for diversity, equity, and inclusion and

providing opportunities for political and social activism jeopardize the ability of

Florida universities to support a diverse faculty and to prepare their students to

enter society with the knowledge, understanding, and well-rounded mindset they

need to contribute to our democracy.

     144. S.B. 266 and the Regulations leave faculty and students with too

many fundamental, unanswered questions about what conduct is permitted or

prohibited; how they can teach; what they can teach; and what words they can or

cannot use, all resulting in self-censorship and a chilling effect across campuses.




                                         81
  Case 1:25-cv-00016-MW-MJF       Document 49      Filed 04/08/25   Page 82 of 89




                             CAUSES OF ACTION

                                     Count I

Violation of the First Amendment to the United States Constitution, 42 U.S.C.

                       § 1983: Viewpoint Discrimination

     145. Paragraphs 1–144 are incorporated here by reference.

     146. The First Amendment binds the State of Florida pursuant to the

incorporation doctrine of the Fourteenth Amendment. References below to the

First Amendment include the First Amendment as applied to states through the

Fourteenth Amendment.

     147. Viewpoint-based discrimination is presumptively unconstitutional and

especially dangerous in higher education. And when, as here, that viewpoint-

based discrimination prohibits advocacy to change government policy or action, it

infringes on core political speech and the right to petition the government.

     148. Defendants violated Plaintiff Austin’s First Amendment rights by

denying her funding to attend and present her scholarship at the Diversity Abroad

Conference because of her disfavored viewpoint. Dr. Austin plans to continue to

seek funding for conferences on topics related to diversity, equity, and inclusion to

present her research and fears this funding will similarly be denied, including for

conferences she hopes to attend in the coming months.

     149. Similarly, Plaintiffs Marr, Queeley, and Rahier intend to seek


                                         82
  Case 1:25-cv-00016-MW-MJF        Document 49     Filed 04/08/25    Page 83 of 89




reimbursement from FIU to attend conferences in the coming months. Plaintiffs

fear that their requests will be denied because of the content of their speech at

these conferences. If their requests are denied, they will either have to pay out-of-

pocket or forgo attendance.

     150. Plaintiffs fear that by requesting and using funds to attend

conferences, host guest speakers, and conduct their research, among other things,

they will run afoul of S.B. 266 and the BOG’s Regulations, risking a negative

post-tenure review.

     151. S.B. 266 and the Regulations impose unconstitutional viewpoint-

based restrictions on faculty and students that contradict the principles of

academic freedom. Specifically, they prohibit otherwise generally available

funding for viewpoints disfavored by the State, while permitting financial

assistance for programs and activities that condemn those same viewpoints.

                                     Count II

Violation of the First Amendment to the United States Constitution, 42 U.S.C.

                               § 1983: Overbreadth

     152. Paragraphs 1–144 and 146 are incorporated here by reference.

     153. S.B. 266 and Regulation 9.016 violate the First Amendment because

they are overinclusive and otherwise overbroad. S.B. 266 and Regulation 9.016

are not narrowly tailored to accomplish a legitimate government purpose. The


                                         83
  Case 1:25-cv-00016-MW-MJF        Document 49     Filed 04/08/25    Page 84 of 89




law expands beyond the legitimate sweep of government speech to a substantial

amount of constitutionally protected private expression, chilling faculty and

student speech.

     154. Due to its lack of specifications or helpful guidelines, S.B. 266 and

Regulation 9.016 create an expansive curtailment of any expression favoring

diversity, equity, and inclusion, as well as political and social activism. As such,

they are substantially overbroad, expanding beyond government speech to private

expression and resulting in a chilling effect on both faculty and students.

                                       Count III

   Violation of the Fourteenth Amendment to the United States Constitution,

                       42 U.S.C. § 1983: Void for Vagueness

     155. Paragraphs 1–144 are incorporated here by reference.

     156. The void for vagueness doctrine arises when a law: (1) “fail[s] to

provide the kind of notice that will enable ordinary people to understand what

conduct it prohibits”; or (2) “authorize[s] and even encourage[s] arbitrary and

discriminatory enforcement.” Morales, 527 U.S. at 56.

     157. Additionally, under the unconstitutional conditions doctrine, the

government “may not deny a benefit to a person on a basis that infringes his

constitutionally protected interest, especially his interest in freedom of speech.”

Perry, 408 U.S. at 597.


                                         84
  Case 1:25-cv-00016-MW-MJF        Document 49     Filed 04/08/25   Page 85 of 89




     158. S.B. 266 and Regulation 9.016 violate the Fourteenth Amendment

because their terms are impermissibly vague, making it impossible to determine

what conduct is prohibited, and they encourage arbitrary and discriminatory

enforcement. S.B. 266’s and Regulation 9.016’s vague terms infringe Plaintiffs’

constitutionally protected right to free speech because the terms require Plaintiffs

to seek to conform their speech with vague provisions or risk losing access to

generally available funds or general education designations.

     159. Regulation 9.016’s ambiguous definitions provide no insight into

understanding S.B. 266’s scope or determining how faculty and students can

express their views.

     160. S.B. 266’s and Regulation 9.016’s vague language prohibiting general

education courses from “distort[ing] significant historical events”; teaching

“identity politics”; being “based on theories that systemic racism, sexism,

oppression, and privilege are inherent in the institutions of the United States and

were created to maintain social, political, and economic inequities”; or containing

“a curriculum based on unproven, speculative, or exploratory content” fails to

provide sufficient notice as to (1) which courses may receive general education

designation and (2) what professors are permitted to teach.

     161. The vagueness of S.B. 266 and Regulation 9.016 leaves too much

room for individual interpretation—permitting Defendants to classify some groups


                                         85
  Case 1:25-cv-00016-MW-MJF        Document 49      Filed 04/08/25    Page 86 of 89




as violative of the law whose viewpoints they may disagree with, while supporting

others’ whose viewpoints they favor.

     162. S.B. 266 and Regulation 9.016 leave faculty and students with too

many fundamental, unanswered questions about what conduct is prohibited,

resulting in self-censorship and a chilling effect across campuses.

                                      Count IV

              Violation of Florida’s Campus Free Expression Act

     163. Paragraphs 1–144 are incorporated here by reference.

     164. Section 1004.097(3)(f) provides, “A Florida College System

institution or a state university may not shield students, faculty, or staff from

expressive activities.”

     165. Section 1004.097(2)(f) defines “shield” as conduct that “limit[s]

students’, faculty members’, or staff members’ access to, or observation of, ideas

and opinions that they may find uncomfortable, unwelcome, disagreeable, or

offensive.”

     166. Section 1004.097(3)(a) further provides that expressive activities are

protected under the First Amendment to the United States Constitution and Article

I of the Florida Constitution. These activities include, as pertinent here, faculty

research, lectures, writings, and commentary, whether published or unpublished.

     167. The Florida legislature has demonstrated its intent that the Campus


                                          86
   Case 1:25-cv-00016-MW-MJF       Document 49     Filed 04/08/25    Page 87 of 89




Free Expression Act (Section 1004.097) should have enforcement teeth and not

just exist as a statement of policy by including Section 1004.097(4)(a), which

provides a private right of action for persons injured by a violation of the Act.

      168. Through selective enforcement of S.B. 266 and the Regulations,

Defendant BOT members have prohibited faculty from teaching, and students and

faculty from engaging in discussions, about ideas and opinions that some may find

unwelcome or disagreeable.

      169. Defendants have, therefore, shielded students and faculty at Florida’s

public universities in violation of section 1004.097(3)(f).

                                REQUEST FOR RELIEF

      WHEREFORE, considering the foregoing facts and arguments, Plaintiff

respectfully requests that this Court enter judgement in their favor and:

      A.     Issue permanent injunctive relief restraining Defendants and their

successors from enforcing Fla. Stat. §§ 1004.06(2)(b),1007.25(3), and 1007.55(1)

and Regulation 9.016;

      B.     Declare Fla. Stat. §§ 1004.06(2)(b), 1007.25(3), 1007.55(1) and

Regulation 9.016 unconstitutional in violation of the First and Fourteenth

Amendments to the United States Constitution under 42 U.S.C. § 1983;

      C.     Pronounce Defendants’ enforcement of Fla. Stat. §§ 1004.06(2)(b),

1007.25(3), and 1007.55(1) and Regulation 9.016 in violation of Fla. Stat.


                                         87
   Case 1:25-cv-00016-MW-MJF        Document 49      Filed 04/08/25   Page 88 of 89




§ 1004.097.

      D.      Award to Plaintiffs costs incurred in pursuing this action, including

reasonable attorneys’ fees and other necessary expenses, pursuant to 42 U.S.C.

§ 1988, Fla. Stat. § 1004.097(4)(a), and other applicable authority; and

      E.      Grant such additional relief as the interests of justice may require.

Dated: April 8, 2025              Respectfully submitted,

                                        By: /s/ Michelle Morton

                                        Jerry C. Edwards (FBN 1003437)
                                        Samantha J. Past (FBN 1054519)
                                        Amien Kacou (FBN 44302)
                                        Michelle Morton (FBN 81975)
                                        Daniel B. Tilley (FBN 102882)
                                        AMERICAN CIVIL LIBERTIES UNION
                                        FOUNDATION OF FLORIDA
                                        4343 West Flagler Street, Suite 400
                                        Miami, FL 33134
                                        Tel.: (786) 363-2714
                                        jedwards@aclufl.org
                                        spast@aclufl.org
                                        akacou@aclufl.org
                                        mmorton@aclufl.org
                                        dtilley@aclufl.org

                                        -and-

                                        Lee R. Crain (appearing pro hac vice)
                                        Martie Kutscher Clark (appearing pro hac
                                        vice)
                                        Laura M. Sturges (appearing pro hac vice)
                                        Janiel Myers (appearing pro hac vice)
                                        Caelin Moriarity Miltko (appearing pro hac
                                        vice)
                                        A. Nell Tooley (appearing pro hac vice)

                                           88
Case 1:25-cv-00016-MW-MJF   Document 49   Filed 04/08/25   Page 89 of 89




                               GIBSON, DUNN & CRUTCHER LLP
                               200 Park Avenue
                               New York, New York 10166
                               Telephone: 212-351-4000
                               lcrain@gibsondunn.com
                               mkutscherclark@gibsondunn.com
                               lsturges@gibsondunn.com
                               jjmyers@gibsondunn.com
                               cmoriaritymiltko@gibsondunn.com
                               ntooley@gibsondunn.com

                               Co-Counsel for Plaintiffs




                                 89
